Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 1 of 119

 
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 2 of 119

 

(Automotive

 

 

—Y Plumbing Y Electrical

 

 

 

(Software

)

 

   

US

eee
AUTO PANTS SHLPPED FREE

 

 

Ko

 

 

~ Plumbufs

 

se erihy Wa Kay

 

Q4 2014

 

STRICTLY PURSONAL

Qi 2015

ChannelAdvisor
<> Magento
Extenstion

 

 

 

 
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 3 of 119

     

- Exhibit 2
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 4 of 119

EIN: XX-XXXXXXX

OPERATING AGREEMENT

of
COOPER SQUARE. LLC

THIS AGREEMENT is made and entered into on August 3 2011, by the following persons
(“Members”):

MICHAEL DARDASHTIAN
DAVID GITMAN

The following person or persons shall serve as the initial “Manager(s)” of the Company in
accordance with Article 8:

MICHAEL DARDASHTIAN
DAVID GITMAN

Article 1
Select Definitions

“Act” means the Limited Liability Company Act from time to time in force in the State.

“Agreement” means this Operating Agreement, as originally executed and as amended, modified,
supplemented or restated from time to time.

“Base Rate of Interest" means a rate equal to 375 basis points over the prime rate of interest as
published from time to time in The Wall Street Journal or similar publication if The Wall Street Journal is

not available.

“Charter” means the articles of organization, certificate of formation or similar instrument, as
amended from time to time, issued by the State evidencing the formation of the Company. The Charter
was issued on August 4, 2011, and bears State File No. 110805000120.

“Code” means the Internal Revenue Code of 1986, as amended from time to time.

“Company” means the limited liability company formed upon the filing of the Charter and whose
affairs are governed by this Agreement.

“Management” has the meaning set forth in Article 8.

“Manager” means the person or persons identified as such in this Agreement, including persons
subsequently appointed as such in accordance with Article 8.

“Member” means the person or persons identified as such in this Agreement, including persons
subsequently admitted to the Company as Members in accordance with Article 10.

Macintosh [1D Usersimdardashitan:Downloads.Couper Square Op Age vi 9.8.1 Ldoc
sw

Not

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 5 of 119

“Profit Percentages” has the meaning set forth in Section 6.1.
“State” means the State of New York, which has issued the Company's Charter.

Article 2
Organizational Matters

2.1 Formation and Statutory Authority.

(a) Formation. The Company was formed upon the issuance of the Charter by the State.
The Company hereby ratifies and adopts the acts and conduct of the Company’s organizer in connection
with the filing of the Charter as acts and conduct by and on behalf of the Company. The organizational
and other activities for which the organizer was responsible have been completed and the organizer is
hereby relieved of any further duties and responsibilities in that regard.

(b) Statutory Authority. The Company shall be operated as a limited liability company in
accordance with this Agreement and the Act. The rights and obligations of the Members and
Management inter se and in relation to the Company shall be determined in accordance with this
Agreement and the Act. To the extent that anything contained in this Agreement conflicts with the Act,
or modifies, supplements or otherwise affects any rights or obligations under the Act, this Agreement
shall supersede the Act, except to the extent expressly restricted by the Act.

2.2 Filings. Management shall make such filings and do or cause to be done such other acts
and things as shall be required to continue the existence of the Company in the State and shall cause the
Company to be qualified or registered under assumed or fictitious names statutes or similar laws in any
jurisdiction in which the Company owns property or transacts business to the extent such qualification or
registration is necessary or, in the judement of Management, advisable in order to protect the limited
liability of the Members or to permit the Company to lawfully own property or transact business.
Management shall execute, file and publish all such certificates, notices, statements or other instruments
necessary to permit the Company lawfully to own property and conduct business as a limited liability
company in all jurisdictions where the Company elects to own property or transact business and to
maintain the limited liability of the Members.

2.3 Name. The name of the Company is the name set forth in the heading of this Agreement.
The affairs of the Company shall be conducted under the Company name or such other name as
Management may select in accordance with the Act. If the Company uses a fictitious or assumed name,
Management shall execute and file all certificates required by any jurisdiction in which the activities of
the Company make it necessary or desirable to do so. The Company shall have the exclusive ownership
of and right to use the Company name and any other names under which the Company conducts its
affairs.

2.4 Principal Office of the Company. The principal office of the Company shall be located at
such place within or outside the State as Management may from time to time designate. The Company
may have secondary offices at such other place or places as Management may from time to time
designate.

2.5 Records to be Maintained. Management shall at all times during the continuance of the
Company keep al the Company's principal office such records and information as the Company may be
required to maintain in accordance with the Act.

bt
fos

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 6 of 119

2.6 Registered Office and Registered Agent. Management shall designate a registered office
and a registered agent in accordance with the Act. Management may from time to time in accordance
with the Act change the Company’s registered office and/or registered agent. Management shall select
and designate a registered office and registered agent for the Company in each other state in which the
Company is required to maintain or appoint one.

Article 3
Purpose of the Company

The purpose of the Company is to engage in any and all lawful businesses, make any and all
lawful investments and undertake such other activities related or incidental thereto as Management may
determine is in the interests of the Company, including owning membership interests in other business
entities engaging in the business of internet sales.

Article 4
Duration of the Company

4.1 Duration of the Company. The Company shall continue in perpetuity unless sooner
dissolved in accordance with the other provisions of this Article.

4.2 Winding-Up. The Company shall commence a winding-up of its affairs upon the earliest
of:

(a) Disposition of All or Substantially All of its Non-Cash Assets. The sale or other
disposition of all or substantially all of the Company’s non-cash assets; but if the foregoing sale or other
disposition involves (i) the receipt of a deferred payment obligation, whether or not secured, or (ii) the
receipt of payment in whole or in part in kind, then at Management's election the term of the Company
shall not end, and it shall continue, subject to the other provisions of this Agreement, until the earlier of
the time that (A) the deferred payment obligation shall have been paid in full, (B) the in kind
considerations received by the Company shall have been sold or otherwise converted to cash or (C)
Management elects to distribute the deferred payment obligation or in kind considerations.

(b) Decision of Management. Management’s decision to do so. Management shall provide
the Members with notice of its decision to commence the winding-up of the Company.

(c) Decision of the Members. The decision of the Members to do so. A decision of the
Members under this paragraph shall require the approval of Members holding at least fifty-one (51%)
percent of the Profit Percentages (as hereinafter defined) and the approval of Management.

(d) Judicial Dissolution. Upon the entry of a judicial decree of dissolution of the Company
in accordance with the Act.

The winding-up of the Company shall be conducted in accordance with this Agreement generally and
Article 16 in particular.

4.3 Continuation of Company Upon Certain Events. The death, disability, court declaration
of incompetence, bankruptcy, dissolution, liquidation or other dissociation of a Member shall not dissolve
the Company, but it shall be continued with the successor or legal representative of such Member; such
successor or legal representative shall, to the extent of the interest acquired, be entitled only to the
predecessor Member's rights. if any, in the distributions of the Company, and no such person shall have
any right to participate in the management of the affairs of the Company or vote on any Company matter

wd
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 7 of 119

without the written consent of Management. See Article 10 for additional provisions applicable to any
such successor or legal representative.

Article 5
Capital Contributions to the Company

5.1 Capital Contributions. Each Member shall contemporancously with the execution of this
Agreement contribute to the capital of the Company the amount of money or property set forth opposite
that Member's signature hereto.

5.2 Additional Capital Contributions. Except as set forth in this Agreement or as required by
the Act, no Member shall be assessed for additional capital contributions.

(a) By Agreement of Members. The Members may, by unanimous agreement, at any time or
from time to time, make additional capital contributions to the Company.

(b) By Action of Management. (f Management determines that it is necessary or desirable for
the Company to obtain additional funds in the form of additional capita! contributions, then:

(i) Management shall send to each Member a notice (the “First Requirement
Notice”), which shall advise Members as to the total amount of capital required
by the Company (the “Requirement Amount”), the portion of the Requirement
Amount which may be contributed by each Member (determined pro rata
according to the Members’ Profit Percentages) and the date on which such capital
is required to be contributed to the Company (the “Requirement Date"). The
Requirement Date shal! be not less than 10 days after the date of the First
Requirement Notice.

(ii) Should any Member not exercise its option and contribute its capital within the
period provided in clause (i), above, Management shall promptly send to each
Member who made contributions pursuant to clause (i), above a notice (the
“Second Requirement Notice”) of the uncontributed portion of the Requirement
Amount, each of whom may elect to make a further capital additional
contribution to the Company by delivering to Management, within five days of
the date of the Second Requirement Notice, written notice of the same, which
notice shall include a statement of the maximum amount of the uncontributed
Requirement Amount such Member would be willing to contribute. The portion
of the uncontributed Requirement Amount that may be contributed by each
Member shall be determined by Management ratably according to the relative
maximum amounts that the Members propose to contribute in their notices to
Management, and shall be paid by the Member to the Company immediately
upon demand therefore. No Member, however, shall be required to pay more
than the maximum amount it proposed to contribute to the Company.

(ii) = Additional capital contributions under this Section are voluntary; but once a
Member shall have agreed to make an additional capital contribution hereunder,
the Company shall have all of the rights and remedies set forth in this Agreement
resulting from the failure of the Member to make such capital contribution.

(iv) In the event that the entire Requirement Amount is not contributed by all
Members in proportion to their Profit Percentages in effect immediately prior ta
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 8 of 119

the First Requirement Notice, the Profit Percentages of the Members shall be
adjusted with prospective effect to take account of the additional capital
contributions made by the contributing Members in relation to the sum of (A)
those additional capital contributions and (B) the aggregate amount of the capital
contributions of the Members immediately prior to the additional capital
contributions.

5.3 Defaulting Members. The Company shall be entitled to enforce the obligations of each
Member to make the contributions specified in this Article, and the Company acting at the direction of
Management shall have all remedies available at law or in equity in the event any such contribution is not
so made. The Company shall be entitled to recover the reasonable attorey’s fees and other costs of
enforcing the Members’ obligations under this Article, and shall also be entitled to recover interest on any
unpaid contributions, from the due date of such capital contribution, at the Base Rate of Interest from time
to time in effect.

Article 6
Distributions by the Company

6.1 Definitions. The following terms shall have the following meanings:

“Available Cash” shall consist of all cash on hand of the Company irrespective of its source,
excluding, however, (i) “Capital Event Proceeds” (as defined below) and (ii) such reserves as
Management may establish.

“Capital Event Proceeds” shall consist of the net amount of cash received by the Company from
the sale, exchange, refinancing, condemnation, casualty loss or other disposition by the Company of its
assets outside of the ordinary course of business, less (i) the portion thereof disbursed by Management for
the payment of the Company’s debts and expenses and (ii) such other reserves as Management may
establish. Capital Event Proceeds shall include amounts distributed to the Company as an owner of
another entity to the extent that the amount distributed, in the hands of the distributing entity, is in the
nature of Capital Event Proceeds. Amounts released from a reserve of Capital Event Proceeds shall be
treated as Capital Event Proceeds.

“Unreturned Capital” consists of so much of a Member's actual capital contributions .to the

, Company ‘that have not been returned to such Member by way of distributions made under this Antcle

that are identified (in the distribution provisions of this Article) as distributions of Unreturned Capital.

“Profit Percentages” of the Members shall be as set forth opposite each Member’s signature to
this Agreement (or in such Member’s subscription agreement, joinder to this Agreement or other
instrument admitting the Member to the Company), as the sume may be adjusted from time to time in
accordance with this Agreement.

6.2 Distributions of Available Cash. Available Cash shall be distributed to the Members
according to their Profit Percentages at such times as Management shall determine.

6.3 Distributions of Capital Event Proceeds. Capital Event Proceeds shall be distributed to
the Members at such times as Management shall determine in the following rank and order:

(a) Among the Members in proportion to, and to the extent of, their Unreturned Capital.
(b) The remainder, if any, among the Members according to their Profit Percentages.
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 9 of 119

6.4 Withholding of Taxes. If the Company is required to withhold and remit any Federal,
State, foreign or local taxes levied on all or part of a Member’s allocable share of the Company’s income,
the Company shall have the right to do so and such withholding by the Company shall be treated as a
distribution to the Member for whom such withholding is made and shall reduce the amount of future
distributions to be paid to such Member. In Management’s discretion, the Member for whom such
withholding would be made shall make a capital contribution of immediately available funds in the
amount of any balance needed by the Company to satisfy such withholding liability within three days
after being so notified by the Company. Should a Member fail to timely make any such capital
contribution, such Member shall be in default and shall indemnify and hold the Company and the other
Members harmless for any costs, penalties, payments or damages incurred by the Company or the other
Members as a result of such failure, and such Member shall pay the Company interest in respect of any
disbursements made by the Company as a result of such Member failing to timely make the capital
contributions required by this Section at the Base Rate of Interest from time to time in effect. The
Company shall have the authority to apply and setoff any distributions to which such defaulting Member
would otherwise be entitled towards the satisfaction of the liabilities to the Company incurred by such
Member under this Section. This Section shall also have application to taxes that are not in the nature of
withholding taxes but are assessable against the Company with reference to (or where there is exemption
from based upon) the status or nature of a Member.

6.5 Priorities. Except as may be expressly provided in this Agreement, no Member shall
have a priority right over any other Member as to distributions.

6.6 Interest_on Capital Contributions. Except as may be expressly provided in this
Agreement, no interest shall be allowed to any Member upon the amount of its Unreturned Capital. Any
amounts distributed as a preferred return shall not be considered interest.

6.7 Set-Off Rights. The Company shall be entitled to set-off against any distributions or
other amounts that may be or become due to a Member from the Company any amounts that may be due
from such Member to the Company or another Member.

 

6.8 Restrictions on Distributions. No distributions may be made to the Members if, afier
giving effect to such distributions, either the Company would be unable to pay its debts as they become
due in the usual course of business or the net assets of the Company would be less than zero.

Article 7
Accounting and Tax Matters

71 Books of Account. Management shall cause proper and true books of account to be
maintained for the Company in conformity with sound accounting principles consistently applied. There
shall be recorded in the Company's books of account the particulars of alf monies, goods or effects
belonging to or owing to or by the Company, or paid, received, sold or purchased in the course of the
Company’s activities and all of such other transactions, matters and things relating to the Company as are
usually entered in books of account kept by companies engaged in activities of a like kind and character.

7.2 Method of Accounting and Fiscal Year. The Company’s books of account shall be
maintained on the cash or accrual basis, as determined by Management. The Company's fiscal year shall
be the calendar year unless determined otherwise by Management.

7.3 Reports and Returns. As soon as practicable after the close of each fiscal year
Management shall provide each Member with such statements as shall be necessary to advise the
Members properly about their investment in the Company for income tax reporting purposes.
wt

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 10 of 119

Management shall be responsible for engaging an accountant to prepare and to see to the filing of all
Federal, state and local tax returns on behalf of the Company. Members acknowledge that the Company
may not be able to provide all information required for income tax reporting purposes on a timely basis
and that they should expect to extend the time for filing their income tax returns.

74 Capital Accounts. As part of the Company’s books of account, an individual “Capital
Account” shall be maintained for each Member at all times in accordance with sound accounting
principles consistently applied.

75 Financial (Book) Allocations. The net profit or net loss of the Company, determined on
an annual basis in accordance with sound accounting principles, shall be allocated as follows:

(a) In the case of a net profit:

(i) If any net losses were allocated in any prior fiscal year pursuant to clause (b),
below:

(A) Among the Members to the extent of and in proportion to the prior
period allocations made to them or their predecessors in accordance with
clause (b)(iii), below, not previously eliminated by allocation under this
clause. Allocations hereunder shall be made in the reverse order in
which such net losses were originally allocated (i¢., most recent net loss
allocations are reversed first).

(B) Among the Members to the extent of and in proportion to the prior
period allocations made to them or their predecessors in accordance with
clause (b)(ii), below, not previously eliminated by allocation under this
clause. Allocations hereunder shall be made in the reverse order in
which such net losses were originally allocated (i.e., most recent net loss
allocations are reversed first).

(C) Then in accordance with clause (11), below.

(ii) If net losses were not previously allocated among the Members pursuant to
clause (b), below, or if clause (i)(C), above, applies, then among all of the
Members according to their Profit Percentages.

(b) In the case ofa net loss:

(i) If any net profits were allocated in any prior fiscal year in accordance with clause
(a)(ii), above, then among the Members to the extent of and in proportion to the
prior period allocations made to them or their predecessors in accordance with
clause (a)(ii), above, not previously eliminated by allocation under this clause.
Allocations hereunder shall be made in the reverse order in which such net
profits were originally allocated (i¢., most recent net profit allocations are
reversed first).

(ii) Then among the Members, to the extent of and in proportion to their Unretumed
Capital.
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 11 of 119

(iii) | Then among the Members according to their Profit Percentages; but no allocation
of loss or deduction shall be made to a Member to the extent such allocation
causes or increases a deficit in such Member’s Capital Account balance at the
end of the fiscal year to which such allocation relates; such loss or deduction
shall instead be allocated among the other Members in accordance with their
relative Profit Percentages, subject to the limitations of this clause; except that
once all of the Members’ Capital Account balances have been reduced to zero,
such loss or deduction shall be allocated among the Members in a manner that
Management determined fairly comports with the Members’ economic interests
in the Company and risk of loss.

7.6 Tax Allocations. Except as provided herein, or as otherwise required by the Code or
Treasury Regulations promulgated thereunder (including, without limitation, Treasury Regulations
Section 1.704-1 and [.704-2), Company income, gain, loss, deduction, credit and other partnership items,
as computed for Federal income tax purposes, shall be allocated among the Members in the same manner
as the corresponding book items are allocated pursuant to Section 7.5.

7.7 Changes in Profit Percentages. In the event of any changes in any Member's Profit
Percentage during a fiscal year, Management shall take into account the requirements of Code Section
706(d) and shall have the right to select any method of determining the varying interests of the Members
during the fiscal year which satisfies Code Section 706(d).

7.8 Tax Elections. Management shall have the right to make (and revoke) any and all tax
elections for the Company, including, without limitation, an election to adjust the tax basis of Company

assets under Code Section 754.

79 Administration of Tax Proceedings. Management shall appoint, remove and replace the
Company’s “Tax Matters Partner” as defined in Code Section 6231(a)(7) (referred to herein as the “Tax
Matters Member”). The Tax Matters Member shall have the right to resign by giving 30 days written
notice to the Members. Upon the resignation of the Tax Matters Member, a successor Tax Matters
Member shall be selected by Management.

7.10 Federal Taxpayer Identification Number. Management hereby authorizes Michael
Dardashtian to apply for a Federal taxpayer identification number. for the Company and to execute in
connection therewith Internal Revenue Service Form SS-4 as an authorized signatory for and on behalf of
the Company or any of its Members or members of Management.

Article 8
Management of the Company

8.1 Management by Managers. The affairs of the Company shall be managed and controlled
by Management in accordance with this Agreement generally and this Article in particular. Management
shall be comprised of one or more “Managers.”

(a) Number, There shall be two (2} Manager(s) of the Company.

(b) Appointment of Manager(s). The Members appoint the person or persons identified on
the first page of this Agreement as the initial Manager(s) of the Company.

(c) Decision-Making. Whenever Management shall be required to take any action, make any
decision or exercise any discretion and there shall be more than ane Manager, then except as otherwise
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 12 of 119

provided in this Agreement, the action, decision or exercise of discretion shall require the approval of all
of the persons appointed as Manager.

(d) Removal and Replacement of Managers. Members holding at least fifty-one (51%)
percent of the Profit Percentages shall have the authority at any time and from time to time to (i) remove a
Manager from office and (ii) appoint a new Manager whenever there is a vacancy in the office of
Manager. A successor Manager shall be entitled to all of the rights and privileges of the Manager, as
Manager, to whose position it succeeded, and shall be subject to all of the obligations of the predecessor
Manager, as Manager, whether or not such successor Manager is a signatory to this Agreement.

Michael Dardashtian (and his successors collectively) shall have the authority at any time and
from time to time to remove and replace Michael Dardashtian (and any of his successors) as Manager.
David Gitman (and his successors collectively) shall have the authority at any time and from time to time
to remove and replace David Gitman (and any of his successors) as Manager. A successor Manager shall
be entitled to all of the rights and privileges of the Manager, as Manager, to whose position it succeeded,
and shall be subject to all of the obligations of the predecessor Manager, as Manager, whether or not such
successor Manager is a signatory to this Agreement.

8.2 Authority of Management.

(a) Exclusive Right to Manage. Except as otherwise provided herein, Management shall
have the sole and exclusive right and authority to operate, manage, conduct and control the affairs of the
Company. Management shall make all decisions affecting the affairs of the Company and shall carry out
the purposes of the Company as Management deems proper, convenient or advisable.

(b) Power and Authority. Without limiting the generality of the foregoing, and consistent
with the purposes of the Company, Management shall have all of the rights, powers and authority under
the Act and otherwise as provided by law, including the right, power and authority to: acquire assets;
purchase goods and services; sell, exchange, lease, license or otherwise deal in or with any and all assets
of the Company; open and maintain one or more bank accounts and designate (and change the designation
of) signatories thereon; borrow funds to finance the Company’s activities and in connection with such
borrowing, mortgage, hypothecate, pledge, lien or othenvise encumber the revenues and asscts of the
Company; guaranty the debts of affiliates and others when Management believes it will benefit the
Company to do so; enter into any contract or agreement or amend or cance] the same; and invest and
reinvest any funds or other assets of the Company ~ all as incident to or necessary for the operations of
the Company. Without limitation of the foregoing, and for the avoidance of any doubt, it is explicitly
declared that Management has the right, power and authority to sel!, exchange or otherwise dispose of all
or substantially all of the Company's assets, including in a transaction that is not in the ordinary course of
business,

(c) No Duty to Inquire. Nothing herein contained shall impose any obligation on any person
or firm doing business ‘with the Company to inquire as to whether or not Management has exceeded its
power and authority in executing any agreement, contract, lease, mortgage, security agreement, deed or
other instrument on behalf of the Company, and any such third person shall be fully protected in relying
upon such authority. Management may designate one or more persons to act as authorized signatories of
the Company and the signatures of such authorized signatories on any agreement, contract, lease,
mortgage, security agreement, deed or other instrument shall be binding on the Company.

(d) General Prescriptions. Without the written consent or ratification of all of the Members,
Management shall have no authority to expend or use Company money or property other than on the
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 13 of 119

account and for the bencfit of the Company or to pledge any of the Company’s credit or property for other
than Company purposes.

8.3 Management's Time Commitment. Management shall cause so much time to be devoted
to the business of the Company as, in its judgment, the conduct of the Company's business shall
reasonably require.

8.4 Compensation of Management. Management shall not be entitled to any fees or other
remunerations for its services in managing the Company. Insofar as a member of Management is a
Member, this Section shall not be construcd to limit such Member's share of distributions under this
Agreement.

8.5 Expenditures by Management. The Company shall reimburse Management for any costs
that may be properly expended on behalf of the Company made out of funds other than those of the
Company.

8.6 Related Business Partners. Management may employ, contract for services with, acquire
or sell goods, property and materials from or to and otherwise deal with any Member, any member of
Management or any affiliate of the foregoing on any basis which is customary and competitive, or
otherwise fair and reasonable.

8.7 Liability of Management. Management (which for purposes of this Section and Section
8.8 shall include its partners, officers, directors, shareholders, members, managers, employees, agents and
affiliates) shall not be liable to a Member or the Company for honest mistakes of judgment, or for action
or inaction, taken reasonably and in good faith for a purpose that was reasonably believed to be in the best
interests of the Company, or for losses due to such mistakes, action or inaction, or for the negligence,
dishonesty or bad faith of any employee, broker or other agent of the Company, provided that such
employee, broker or agent was selected, engaged or retained and supervised with reasonable care.
Management may consult with counsel and accountants in respect of Company affairs and be fully
protected and justified in any action or inaction that is taken in accordance with the advice or opinion of
such counsel or accountants, but if, and only if, they shall have been selected with reasonable care. The
Members shall look solely to the assets of the Company for the return of their capital and, if the assets of
the Company remaining after payment or discharge of the debts and liabilities of the Company are
insufficient to return such capital, they shall have no recourse against Management for such purpose.
Notwithstanding any of the foregoing to the contrary, the provisions of this Section shall not be construed
to relieve (or attempt to relieve) any person of any liability by reason of gross negligence, recklessness or
intentional wrongdoing or to the extent (but only to the extent) that such liability may not be waived,
modified or limited under applicable law, but shall be construed so as to effectuate the provisions of this
Section to the fullest extent permitted by law.

8.8 Indemnification. The Company shall indemnify any person who was or is a party, or is
threatened to be made a party, to any threatened, pending or completed action, suit or proceeding (other
than an action by or in the right of the Company), whether civil, criminal, administrative or investigative,
by reason of the fact that the person is or was a manager, member, officer, employce or agent of the
Company, or is or was serving al the request of the Company as a director, manager, officer, employee or
agent of another limited liability company, corporation, partnership, joint venture, trust or other
enterprise, against expenses (including attorney's fees and costs), judgments, fines and amounts paid in
settlement actually and reasonably incurred by the person in connection with the action, suit or
proceeding, if the person acted in good faith and in a manner the person reasonably believed to be in, or
not opposed to, the best interests of the Company or, with respect to any criminal action or proceeding,
had no reasonable cause to believe the person's conduct was unlawful. The termination of any action,
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 14 of 119

oo
‘ suit or proceeding by judgment, order, settlement, conviction or upon a plea of nolo contenderc or its
equivalent shall not, of itself, create a presumption that the person did not act in good faith and in a
manner that the person reasonably believed to be in, or not opposed to, the best interests of the Company
or, with respect to any criminal action or proceeding, that the person had reasonable cause to believe that
the person’s conduct was unlawful.

8.9 Officers of the Company. Management may from time to time appoint one or more
persons to serve as officers of the Company, in such capacities and with such delegated rights and powers
as Management may approve; provided, however, that no such officer shall have any different or greater
rights and powers than Management has under this Agreement. Officers appointed by Management shall
be entitled to be indemnified by the Company in accordance with Section 8.8.

Article 9

Membership in the Company

9.1 Rights and Obligations of the Members. Unless a Member is a member of Management,
and except as expressly provided in this Agreement to the contrary, no Member shall take part in the
control or management of the Company, nor shall any Member have any authority to act for or on behalf
of the Company or to sign for or bind the Company. Unless admitted to the Company as a Member in
accordance with Article 10, no person who is not a signatory to this Agreement shall be considered a
Member. The Company and Management need dea! only with persons as Members that are so admitted
and shall not be required to deal with any other person (other than with respect to distributions to
assignees pursuant to assignments in compliance with Article 10) merely because of an assignment or
transfer of an interest to such person or by reason of the incapacity of a Member. Any distribution made
. in accordance with this Agreement by the Company to the person shown on the Company records as a
( Member or to its legal representatives, or to the assignee of the right to receive Company distributions as
\... provided herein, shall acquit the Company and Management with respect to such distribution of all
liability to any other person that may have an interest in or claim to such distribution by reason of any
other assignment by the Member with respect to such distribution or by reason of such Member’s
incapacity, or for any other reason.

9.2 Liabilitv. No Member shall be personally liable for any of the debts of the Company or
any of the losses thercof beyond the amount contributed or required to be contributed by it to the
Company under this Agreement and as otherwise specified in the Act. .

9.3 Expenditures of Members. In the discretion of Management, the Company may
reimburse the Members for any costs that may be properly expended by them on behalf of the Company
made out of funds other than those of the Company.

9.4 Partition and Accounting. No Member shall have the right to partition any property of
the Company during the term of this Agreement, or while such assets are held in trust pursuant to Section
16.4, nor shall any Member make application to any court'of authority having jurisdiction in the matter or
comimence or prosecute any action or proceeding for such partition and the sale thereof, and upon any
breach of the provisions of this Section by any Member, the other Members, in addition to all of the tights
and remedies in law and in equity that they may have, shall be entitled to a decree or order restraining and
enjoining such application, action or proceeding. To the maximum extent permitted by law, the Members
specifically renounce, waive and forfeit all rights, whether arising under contract or statute or by
operation of law, to seek, bring or maintain any action in any court of law or equity for an accounting.

9.5 Resignations and Withdrawals. No Member shall be entitled to withdraw or resien from
the Company, except pursuant to the terms of this Agreement. No Member shall be entitled to receive
Poa

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 15 of 119

any money or property from the Company except (a) by way of distributions as provided pursuant to
Article 6, (b) by way of distributions upon the winding-up of the Company pursuant to Article 16, (c) in
respect of any loans to the Company then due and owing to such Member and (d) as expressly provided
elsewhere in this Agreement.

9.6 Trustee Liability.

(a) Actions as Trustees. When this Agreement is executed by the trustee of any trust, such
execution is by the trustee, not individually, but Solely as trustee in the exercise and under the power of
authority conferred upon and vested in such trustee, and it is expressly understood and agreed that nothing
herein contained shall be construed as creating any liability on the part of any such trustee personally to
pay any amounts required to be paid hereunder, or to perform any covenant, either express or implied,
contained herein, all such liability, if any, being expressly waived by the parties hereto by their execution
hereof. Any liability of any Member which is a trust to the Company or to any third person shall be only

Grantor or beneficiary thereof.

(b) Successor Trustee. Any successor trustee or trustees of any trust which is a Member
herein shall be entitled to exercise the same rights and privileges and be subject to the same duties and
obligations as its predecessor trustee, As used in this Agreement, the term “trustee” shall include any or
all such successor trustees,

(c) Termination of Trust. The termination of any trust which is a Member shal! not terminate
the Company. Upon the allocation or distribution of all or any portion of the Company interest of a trust
Which is a Member pursuant to the exercise of any power of appointment, or otherwise, toa beneficiary of
such trust or ta another person or persons or to another trust or trusts, whether or not such distribution

10.

Article 10
Transfers by Members and Issuance of Additional Interests

10.1 Transfers by Members,

(a) Generally. Except as set forth herein, no Member shall sell, exchange, pledge, morigage,
hypothecate or otherwise transfer or encumber its interest in the Company without the prior written
consent of Management. Any such transfer or encumbrance shall be void from inception and of no force
or effect whatsoever. Direct or indirect transfers of interests in entities that are Members shall also be
subject to the limitations of this Section.

(b) Permitted Transferees. Management shall not unreasonably withhold or delay its consent
to a transfer of all or any part of a Member's interest to a Permitted Transferee. In the case of a Member
who is an individual, a Permitted Transferee is (i) such Member's Spouse; (ii) a lineal descendant or
ancestor of such Member or a Spouse of any of the foregoing; (iii) a trust established for the benefit of the
Member or any person described in clauses (i) or (ii), above; (iv) any entity wholly-owned and controlled
by the Member and/or any one or more of the persons described in clauses (i), (ii) or (iii), above; or (v)
any other Member. In the case of a Member who is an entity, a Permitted Transferee is any person who is
directly or indirectly controlled by the Member or directly or indirectly controls the Member: as used
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 16 of 119

herein, “control” means possessing more than 50 percent of the capital, profits and voting rights of an
entity.

10.2 Transfers by Management. Management is an agent of the Company and its interest in
managing the affairs of the Company is not susceptible of being and may not be sold, assigned, pledged,

10.3 Issuance of Additional Interests.

(a) Additional Members and Membership Interests. Management may admit into the
Company one or more additional Members or issue additional membership interests to existing Members
on such terms as Management may determine is fair and reasonable.

(b) Adjustment of Profit Percentages. Upon the admission into the Company of one or more
additional Members or the issuance of additional interests to existing Members, Management is
authorized to adjust the Profit Percentages of the existing Members to take account of the additional
Capital contributions made by the additional Members in relation to the sum of (A) those additional
capital contributions and (B) the aggregate capital contributions of the Members immediately prior to the
capital contributions of the additional Members. The dilution of Profit Percentages of the existing
Members shall be in proportion to the existing Members’ Profit Percentages. If an additional or existing

capital contribution in respect of samc, Management is authorized to dilute the Profit Percentages of the
existing Members in proportion to the existing Members’ Profit Percentages.

Nothing herein contained shall be construed to require or cause the dilution of any so-called carried
interest or promote interest that may inure to a Member or a member of Management.

(c) Rights and Obligations of Additional Members. Additional Members shall be entitled to
all of the rights and privileges of the original Members hereunder and shall be subject to all of the
obligations and restrictions hereunder, and in all other respects their admission shall be subject to all of
the terms and provisions of this Agreement.

10.4 General Provisions, The following rules shall apply to transfers of Company interests
and the admission of additional persons to the Company:

(a) Procedure for Admission. No person shall be admitted as a transferee or additional
Member hereunder unless and until (i) in the case of an assignment of an interest in the Company
permitted hereby, the assignment is made in Writing, signed by the assignor and accepted in writing by the
assignee, and a duplicate original of the assignment is delivered to and accepted by Management, and (ii)
the prospective admittee executes and delivers to the Company a written agreement, in form and
substance satisfactory to Management, pursuant to which said person agrees to be bound by this
Agreement.

(b) Binding Effect. Any person acquiring or claiming an interest in the Company, in any
manner whatsoever, shall be subject to and bound by all terms, conditions and obligations of this
Agreement to which its predecessor in interest, if any, was subject or bound, without regard to whether
such person has executed a counterpart hereof or any other document contemplated hereby. No person,
including the legal representatives, heirs or legatees of a deceased Member, shall have any rights or
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 17 of 119

obligations greater than those set forth herein and no person shall acquire an interest in the Company or
become a Member except as permitted hereby,

(c) Actions Prior to Acceptance of Assignment. Notwithstanding that a person acquiring or
claiming an interest in the Company is bound by all terms, conditions and obligations of this Agreement
to which its predecessor in interest, if any, was subject or bound, the Company and Management shall be
entitled to treat the assignor of the assigned interest as the absolute owner thereof in all respects and shall
incur no liability for distributions made in good faith to such assignor prior to such time as the documents
specified in this Section have been delivered to and accepted by Management. Any person to whom an
interest in the Company is attempted to be transferred in violation of this Article shall not have the tights
of a Member of the Company otherwise provided under the Act, including, but not limited to, the right (i)
ta receive distributions from the Company, (ii) to vote on any matter, (iii) to participate in the
management of the Company, (iv) to act as an agent of the Company, (v) to obtain any information or
accounting of the affairs of the Company or (vi) to inspect the books or records of the Company. If,
however, by law, the Company is required to recognize the purported transfer of a Member's interest in
the Company, the purported transferce’s rights shall be strictly an economic interest in the Company
limited solely to distributions (and accompanying allocations) as provided by this Agreement with respect
to such economic interest, and the Member whose interest in the Company has purportedly been
transferred shall have no right to any distributions with respect to such interest in the Company. Any
distributions to such purported transferee may be applied (without limiting any other legal or equitable
rights of the Company) to Satisfy any debts, obligations or liabilities for damages that the transferor or

"transferee may have to the Company. A Member attempting to engage in any purported transfer that has
not been approved in writing by Management shall be liable to indemnify and hold harmless the
Company and the other Members from all costs, liability and damages that either of them may incur
(including, but not limited to, Incremental tax liability and attorney's fees and expenses) as a result of
such purported transfer. For purposes of this paragraph, an economic interest in the Company shall mean
a person’s interest in the Company including, without limitation, such person’s rights to distributions (and
accompanying allocations), but excluding the right to vote and otherwise to participate in the management
and control of the affairs of the Company.

(d) Consent of Members. Each Member hereby consents to the substitution of any assignee
of a Member's interest or the admission of any additional person as a Member as approved by

Management,

(e) Costs. The costs incurred by the Company in processing an assignment (including
attorney's fees and costs) shall be borne by the assignee, and shall be payable prior to and as a condition
of admission to the Company.

Adticle 11
Miscellancous Provisions

 

11.1 Loans from Members, If Management determines that it would be in the interests of the
Company to borrow funds from a Member or an affiliate of a Member, then prior to accepting any such
funds:

(a) Natice to Members. Management shall send to each Member a notice (the “Loan
Notice”), which shall advise each Member of the total amount of funds which the Company seeks to
borrow (the “Loan Amount”), the terms of the proposed borrowing (including the rate of interest and the
collateral security, if any) and the date on which such funds are required (the “Loan Date”). The Loan
Date shall be not less than five days after the Loan Notice. Said borrowing may be secured or unsecured.
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 18 of 119

as determined by Management in its sole discretion, but shall be evidenced by one or more promissory
notes as are customary.

(b) Election to Participate. Within five days of the date of the Loan Notice, Members may
elect to participate in the borrowing by delivering to Management written notice of the same, together
With its portion of the Loan Amount. The portion of the Loan Amount which each Member may elect to
lend to the Company shall be determined pro rata according to the Members’ Profit Percentages. Any
portion of the Loan Amount not loaned by the Members in accordance with this Section may be loaned by
any Member or affiliate of a Member as Management may determine.

(c) Excuse. The provisions of this Section shall not apply to short-term loans made in
exigent circumstances bearing a market rate of interest.

(d) Priority. Management shall have the discretion to repay all loans from Members or
affiliates of Members before distributions are made to the Members under Sections 6.2 or 6.3.

11.2 Right of Reimbursement and/or Contribution. In the event any Member (or affiliate of a
Member) guaranties any indebtedness of the Company, then the Company shall promptly reimburse the
guarantor for any and all payments made by the guarantor thereunder. Without limitation of the
foregoing sentence, and notwithstanding the terms of any such guaranty, as between and among the
Members, cach of the Members shall be liable with respect to such guaranty in proportion to such
Member’s Profit Percentage. If any Member (or affiliate of a Member) makes payment with respect to a
guaranty of Company indebtedness that at time of demand has not been reimbursed by the Company, the
other Members shall immediately make a payment to such Member (or such affiliate of a Member) such
that after all payments between and among the Members are made, cach Member shall have contributed
to the payment of such guaranty an amount equal to the amount of such payment multiplied by such
Member’s Profit Percentage. Any Member and any affiliate of a Member making payment on any such
guaranty or making a contribution in respect thereof shall have the right to enforce this Section. This
Section shall apply to any person who holds an interest in the Company, whether or not such person is a
Member. In the event that the obligation under the guaranty arises by reason of the gross negligence,
fraud or willful misconduct of a particular Member (or affiliate of a particular Member), that Member
shall be solely responsible for funding the reimbursement obligations described herein.

11.3. Conversion. Notwithstanding anything to the contrary in this Agreement, Management
Shall have the right and power in its sole discretion to cause the Company to contribute its assets to,
merge with, consolidate with or convert into any other entity formed under the laws of the State or the
laws of any other state in accordance with the Act, whereupon the assets and liabilities of the Company
shall become the assets and liabilities of such other entity, the Members (including Management) or, in
the case of a contribution, the Company, shall become the owner(s) of such other entity (without
modification of their economic interests inter se), and Management shall become the controlling person
of such other entity. By way of illustration and not by way of limitation, the Company may be converted
into a limited partnership in which Members are limited partners and Management is the general partner,
or into a real estate investment trust in which Members are non-voting shareholders and Management is
the sole voting shareholder. Should the Company merge with, consolidate with or convert into another
entity in accordance with this Section, Members agree that they shall be bound by the terms of the
organizational documents of such entity as presented by Management. Such organizational documents
(viewed as if they were amendments to this Agreement) shall comport with Section 15.1. The execution
of such organizational documents (viewed as if they were amendments to this Agrecment) shall be subject

to Section 15.2.
tn,
:

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 19 of 119

11.4 “Bring-Along” Rights. In the event that Management proposes to enter into one or more
agreements to sell to any person or persons (referred to herein collectively as the “purchaser”) all or
substantially all of the membership interests in the Company in a single transaction or related series of
transactions in lieu of a sale of all or a substantial part of the assets of the Company, all of the Members
hereby agree to sell their respective interests in the Company to the purchaser on the terms set forth in
such agreements. The agreements shall provide for the payment to the Members for their interests in the
Company amounts equal to the amounts that they would have received had the Company (a) sold all of its
assets at the price implicit in the price to be paid by the purchaser for the membership interests in the
Company, (b) satisfied all of its obligations and (c) made liquidating distributions to the Members in.
accordance with Article 16 hereof. The costs associated with the sale shall, in general, be borne by the
Members in the same proportion. Management may reallocate among the Members so much of the
considerations that a Member would be entitled to receive as equals the amounts which such Member
then owes to the Company or to another Member. Amounts that the purchaser agrees to pay in
consideration of consulting, employment, non-competition and similar agreements shall be allocated (if
not allocated in the agreements) among the Members as Management shall deem reasonable and
appropriate. Management is hereby granted by each Member a power of attorney, coupled with an
interest, to execute in the name of the Member any and all agreements, contracts, documents and other
instruments (including instruments of assignment) which Management deems necessary or useful in order
to consummate the transactions aforesaid; said instruments shall be deemed to have been executed on
behalf of the Members as if signed by the Members themselves.

11.5 Redemption of Interests.

(a) Membership Interests Subject to Redemption. The interests of any Member in the
Company shall be subject to redemption (i.¢., purchase by the Company) as provided in this Section.

(b) Election to Redeem Made by Management. The decision to redeem a Member's interest
in the Company in accordance with this Section shall be made by Management in its sole discretion, but
only in the following circumstances applicable to a Member:

(i) Willful or serious misconduct by the Member with respect to the business,
operations or assets of the Company.

(ii) Fraud or dishonesty on the part of the Member, whether or not with respect to the
business or affairs of the Company, which affects the business, operations, assets

or reputation of the Company.

(iii) © The Member's conviction of a felony crime, or a non-felony crime involving an
act of moral turpitude.

(iv) A transfer by the Member of its interest in the Company in violation of this
Agreement.

(vy) An attempt by the Member to withdraw from the Company in violation of this
Agreement.

(vi) An attempt by the Member to partition the property of the Company in violation
of this Agreement.

(vii) A breach by the Member of any of the other terms, conditions and obligations
contained in this Agreement.
eee Ne

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 20 of 119

(viii) A failure to contribute additional capital to the Company pursuant to
Management’s call in Section 5.2(b) above.

(ix) A breach by the Member of any employment agreement between the Member
and the Company.

(x) Any event resulting in a separation of the Member from service to the Company
as an employee, contractor or agent.

For purposes of clauses (i), (ix) and (x), the term “Company” shall include the Company and any of its
subsidiaries or other affiliates.

The interests of all transferees, successors or assignees of a Member (including a Permitted Transferee)
shall also be subject to redemption under this Section if any transferee, successor or assignee has engaged
in any of the acts described in the clauses set forth above or if, in the case of a partial assignment, the
assigning Member (while a Member) engaged in any of the acts described in the clauses set forth above.

(c) Redemption Notice. If Management decides to redeem a Member in accordance with this
Section, Management shall send such Member (the “Redeemed Member”) written notice (the
“Redemption Notice”) of its decision. The Redemption Notice shall specify the date on which the
redemption shall close (the “Redemption Closing Date”); the Redemption Closing Date shall be
established in accordance with paragraph (f).

(d) Purchase Price. The purchase price (the “Purchase Price”) of a Redeemed Member’s
interest shall equal (i) the amount that the Redeemed Member would have received had the Company (A)
terminated on the date the Redemption Notice was given, (B) sold all of its assets at their fair market
values on the date the Redemption Notice was given, (C) satisfied all of its debts and obligations and (D)
made distributions to the Members in accordance with Section 16.2, less (ii) any distributions made to the
Redeemed Member after the date the Redemption Notice is given to Redemption Closing Date. The fair
market values of the Company’s asscts shall be determined by Management.

(e) Payment of Purchase Price. The Purchase Price shall be paid in the form of an
unsecured promissory note (the “Redemption Note") payable to the Redeemed Member and payable over
a three year term. The principal amount of the Redemption Note shall bear interest at the lowest rate
necessary to avoid the imputation of additional interest for Federal income tax purposes. Level payments
of interest and principal shall be made on the note on a quarterly basis to fully amortize the principal
balance over the term of the Redemption Note. The first payment under the Redemption Note shall be
duc 90 days after the Redemption Closing Date. The Redemption Note shall be prepayable at any time
and from time to time. The outstanding balance of the Note shall be prepaid upon the dissolution of the
Company in accordance with Section 16.2(b).

(f) Redemption Closing Date and Closing Deliveries. The Redemption Closing Date shall
be on a date and at the time specified by Management in the Redemption Notice but not later than the
30th day following the date the Redemption Notice is given. Closing shall occur at the Company’s
principal office or at such other place specified by Management in the Redemption Notice. At the closing
the Company shall tender the Note to the Redeemed Member and the Redeemed Member shall accept the
same and execute such documents of transfer as Management may request. If the Redeemed Member
shall not accept the tender or execute said documents, Management shall be entitled 10 execute the
documents of transfer for and on behalf of the Redeemed Member, with the same effect as if the
Redeemed Member had done so itself, and the contemplated transfer shall be deemed closed once
Management has deposited the Note (i) as an interpleader in any court of competent jurisdiction or (ii) in
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 21 of 119

a non-interest bearing escrow account at any established title company, trust company or banking
institution, under instructions that the same (and any payments made under the Note after such deposit)
may be withdrawn by the Redeemed Member upon demand. The closing of a redemption as
contemplated in this paragraph shall not prejudice a Redeemed Member’s right to contest the amount of
the Purchase Price but a Redeemed Member shall not be permitted to contest the closing as contemplated
by this paragraph.

(g) Allocation of Redeemed Member's Interest. The Percentage Interest of a Redeemed
Member shall be reallocated among the Members in accordance with their relative Profit Percentages. If
a member of Management posscsses a Profit Percentage, the reallocation shall also include such member
of Management.

Article 12

Special Covenants

12.1 Competitive Undertakings. Except as otherwise provided hercin, any Member and
Management may engage in business ventures of any nature and description independently or with others,

including, but not limited to, business of the character described in Article 3 (or any part thereof), and
neither the Company nor any of the Members shall have any tights in or to such independent ventures or
the income or profits derived therefrom.

12.2 Confidentiality.

 

(a) Restriction on Disclosure. Each Member (which term, for purposes of this Section,
includes each member of Management, whether or not such member of Management is a Member)
recognizes and acknowledges that by virtue of its relationship with the Company it may be exposed to,
discover, develop, generate or contribute to the Company’s Confidential Information (as defined below),
Each Member agrees that it will not, at any time or in any manner, either directly or indirectly, publish,
communicate, divulge, disclose, disseminate or otherwise reveal to any person or entity, or use for any
purpose whatsoever any Confidential Information, except as may be necessary in the course of
performing authorized services for the Company or as may be required by applicable order of court, law,
Statute or regulation. Each Member further agrees to notify the Company before disclosing any
Confidential Information under compulsion of law. Each Member hereby acknowledges that all
Confidential Information is valuable, material and will significantly affects the effective and successful
conduct of the Company’s business and its goodwill. Each Member will take all necessary steps and
precautions to protect any Confidential Information and shall comply with all policies of the Company in
regard to Confidential Information. Upon the Company’s request, any Member shall promptly return to
the Company any and all correspondence, notes, data and documents containing or reflecting Confidential
Information, keeping no copies for himself. The rights and protections granted herein are in addition to
the rights, remedies and protections afforded to the Company under any applicable law, statute or
regulation.

(b) Definitions. For the purposes of this Agreement, the term “Confidential Information”
shall mean all information or data relating to the business and affairs of the Company not generally
known outside of the Company, including, without limitation, any of the Company's processes, data,
designs, compilations of information, apparatus, computer programs, information of or relating to
suppliers or customers, customer requirements, cost or price data, research data, business plans, marketing
or sales plans or information, financial data, salary information, policies and procedures, sales know-how
or any other information that may be considered to be Proprietary to or a trade secret of the Company,
whether or not such information is considered a trade secret within the meaning of applicable law.
Information shall not be considered “Contidential Information” if any of the following apply:

18 '
Ne

no

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 22 of 119

(i) It is already in or enters into the public domain otherwise than as a consequence
of a breach of the terms of this Agreement.

(ii) It is already properly and lawfully in the possession of the receiving party and is
not subject to any obligation of secrecy on the receiving party’s part.

(iii) It becomes available to a party on a non-confidential basis from a source other
than the Company, provided that such information was properly and lawfully in
the possession of such source and not, so far as the receiving party is aware (after
making due and careful inquiry), subject to any obligation of secrecy on the part
of such source.

Article 13
Securities and Other Matters

13.1 No Registration Statement. The interests evidenced by this Agreement have not been
registered with the Securities and Exchange Commission or any state but have been issued pursuant to
exemptions under the Federal Securities Act of 1933, as amended (the “Securities Act”), and applicable
State securities Jaws.

13.2 Transfers of Interests Restricted. The sale, transfer, pledge, hypothecation or other
disposition of any of interests in the Company is restricted and may not be accomplished except in
accordance with this Agreement and an applicable registration statement or an opinion of counsel
satisfactory to Management that registration is unnecessary or an exemption from registration under the
Securities Act and applicable state securities laws.

Anticle 14

Intentionally Omitted

Article 15
Amendments to Operating Agreement

13.1 Amendments. The terms of this Agreement may be modified or amended at any time and
from time to time with the written consent of Management and Members holding a majority of the Profit
Percentages; but, in no event shall any modification or amendment to this Agreement (a)
disproportionately decrease the right of any Member to distributions; (b) cause any Member to incur any
personal additional liability with respect to the Company; or (c) amend this Article — unless in each case
the Members adversely affected thereby consent in writing to such modification or amendment.

15.2 Power of Attomey. Each Member hereby agrees that, upon the execution of this
Agreement, it shall and hereby does consent and appoint Management as its true and lawful attorney,
coupled with an interest in its name, place and stead to sign, execute, acknowledge, swear to and file any
and all documents which in the discretion of such attorney are required to be signed, executed,
acknowledged, sworn to or filed by the Member to discharge the Purposes of the Company as
hereinabove stated or the provisions of this Agreement. Without limitation, among the documents which
Management may execute on behalf of each Member shall be the following:

(a) Any amendments to this Agreement, when this Agreement is amended in accordance
with Section 15.1.
cy

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 23 of 119

(b) The Charter and any other instrument which may be required of the Company pursuant to
the Act or the laws of any other jurisdiction and any amendments thereto that are not prohibited by
Section 15.1.

The grant of authority set forth in this Section is a special power of attomey coupled with an interest, is
irrevocable and shall survive the death, incapacity, insolvency, bankruptcy, liquidation or dissolution of a
Member; may be exercised by Management for a Member by a facsimile signature or by listing the names
of all of the Members executing any instrument with the signature of Management, as attorney in fact for
all of them; and shall survive the delivery of an assignment by a Member of all or any portion of its
interest, except that where the assignee has been approved by Management for admission to the Company
as a substituted Member, the power of attorney shall survive the delivery of such assignment for the sole
purpose of enabling Management to execute, acknowledge and file any instrument necessary to effect
such substitution, and the grant of authority set forth in this Section shall be deemed to have been made
by such substitute Member.

Article 16
Windine-Up and Dissolution of the Company

16.1 Winding-Up and Dissolution Procedures. Upon an event described in Section 4.2, the
affairs of the Company shall be wound-up and the Company shall be dissolved. Management shall
preside over the winding-up and dissolution of the Company or may appoint one or more agents to do so.
Management shall make such filings in the State and in such other states in which the activities of the
Company make it necessary or desirable to do so and do or cause to be done such other acts and things as
shall be required to dissolve the Company.

16.2 Distributions Upon Winding-Up. Except as otherwise provided in this Article, the
winding-up and dissolution of the Company shall involve:

(a) The orderly sale or other disposition of the Company's non-cash assets within a
commercially reasonable time,

(b) The payment or settlement of (and where appropriate, the establishment of reasonable
reserves for) the Company’s debts and other obligations, including to Members who are creditors, in the
order of priority and to the extent provided by law.

(c) The distribution of any remaining sums among the Members in accordance with Section
6.3.

16.3 Distributions In Kind. In the event that Management determines that it is necessary or
desirable to make a distribution of Company property in kind, such property shall be transferred and
conveyed to the distributees as tenants in common so as to vest in them undivided interests in the whole
of such property in proportion to their respective rights to share in the ‘proceeds of the sale of such
property in accordance with the provisions of Section 16.2(c). All such Company property shall be
valued at fair market value as determined by Management and shall be subject to such reasonable
conditions and restrictions as are necessary or desirable in order to preserve the value of the assets
distributed or for legal reasons.

16.4  Liquidating Trust. In the discretion of Management, all or any portion of the
distributions that would otherwise be made to the Members pursuant to Section 16.2(c) may be
distributed to a trust established for the benefit of the Members for the purposes of liquidating Company
assets, Collecting amounts owed to the Company and paying any debts or other obligations of the
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 24 of 119

Company arising out of or in connection with the Company. Management shall appoint one or more
persons as liquidating trustee. The assets of any such trust shall be distributed to the Members from time
to time in the discretion of the Liquidating Trustee in the same Proportions as the amount distributed to
such trust by the Company would otherwise have been distributed to the Members pursuant to this
Agreement.

16.5 Final Accounting. As part of the winding-up of the Company, a final accounting shall be
made of the activities of the Company from the date of the last Previous accounting to the date of
dissolution, If a Member has a deficit in its Capital Account, such Member shall not be obligated to
contribute any amount of that deficit to the Company.

Article 17
General Provisions

 

17.1 Notices. All notices, demands, offers or other communications required or permitted to
be given pursuant to this Agreement shall be in writing and shall be transmitted by courier, recognized
overnight delivery service (such as FedEx) or first class (postage prepaid) certified U.S. mail. Any notice,
demand, offer or other communication shall be effective on the date of receipt at the address of the
addressee. Notices, demands, offers or other communications to a Member shall be addressed to the
Member at the address beneath the Member’s name on the signature page of this Agreement or, if
applicable, in such Member's subscription agreement. Notices, demands, offers or other communications
to the Company shall be addressed to the Company in care of Management. Notices, demands, offers or
other communications to Management shall be addressed to each member of Management at the address
beneath each such person’s name on the signature page of this Agreement. Any Member or member of
Management may change its address for all future notices, demands, offers or other communications by
giving notice to all of the other Members and members of Management stating its new address.

17.2 Successors. This Agreement and all the terms and provisions hereof shall be binding
upon the parties hereto and their respective legal representatives, heirs, successors and assigns, except as
expressly herein otherwise provided.

17.3 Third Party Benefits. Without limiting Section 17.2, the provisions of this Agreement are
intended solely to benefit the Company and the parties hereto and, to the fullest extent permitted by
applicable law, shall not be construed as conferring any benefit upon any other person, including without
limitation any creditor of the Company (and no such creditor or other person shall be a third party
beneficiary of this Agreement), and except as required by the Act, the Members shall have no duty or
obligation to any such creditor or other person to make any contributions or return any money or other
property to the Company.

17.4 Governing Law. This Agreement shall be construed in conformity with the domestic
laws of the State, as applied to agreements whose only parties are residents of the State and which are to
be performed entirely within the State. ,

17.5 Severability. If any provision of this Agreement, or the application of such provision to
any person or circumstance, shall be held invalid by a court of competent jurisdiction, the remainder of
this Agreement, or the application of such provision to persons or circumstances other then those to which
it is held invalid by such court, shall not be affected thereby.

17.6 Other Rules of Construction. Every provision of this Agreement shall be construed
simply according to its fair meaning and not strictly for or against any Member (nowithstanding any rule
an

oN

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 25 of 119

of law requiring an Agreement to be Strictly construed against the drafting party). The following
additional rules of construction shal! apply to this Agreement:

(a) All pronouns shall include the masculine, feminine or neuter thereof, wherever the
context and facts require such construction.

(b) The term “person” refers to an individual, corporation, partnership, joint venture, limited
liability company, limited liability partnership, association, joint stock company, Statutory trust, common-
law trust, unincorporated organization, government authority or any other organization whether or not a
legal entity.

(c) The term “party” means a Signatory to this Agreement, including a Member, member of
Management and any successor to any of the foregoing, whether or not such successor has executed or
otherwise joined in this Agreement. The fact that a successor is a party shall not give that person any
greater rights than it has under the express terms of this Agreement. By way of illustration, a successor
who has not been admitted to the Company in accordance with Article 10 is a party to this Agreement for
purposes of the dispute resolution procedures in Section 17.8, but despite being a party is still subject to
the limitations of Section 10.4(c).

(d) All terms defined in this Agreement in the singular have the same meanings when used in
the plural and vice versa.

(e) The use of the word “including” herein shall not be considered to limit the provisions
which it modifies but instead shall mean “including without limitation” unless the provision staics
otherwise,

(6 Headings, titles and subtitles us are inserted for convenience of reference only and are to
be ignored in any construction of the provisions hereof,

(g) An “Article” of this Agreement is typically identified with a number (e.g, “Article 17”).
A “Section” of this Agreement corresponds to an Article and is typically identified with a number that
includes a decimal (e.¢.. “Section 17.6"). A “paragraph” of this Agreement corresponds to a Section and
is typically identified by a lower case letter (e.g, paragraph “(g)”). A “clause” of this Agreement
corresponds to a paragraph and is typically identified with a roman numeral or an upper case letter (eg,
“(i)” “(I)” of “(AY”).

(h) Except where express reference is made to “business days,” references in this Agreement
to a number of days within which an action must be taken (including the giving of notice or the delivery
of documents) shall mean calendar days. Notwithstanding the preceding sentence, whenever the final day
on which an action must be taken (including the giving of notice or the delivery of documents) occurs on
a non-business day (i.¢., Saturday, Sunday or a holiday recognized by the U.S. Federal government, the
State or the state in which the Company’s principal office is located), then such period or date shall be
extended until the immediately following business day.

17.7 Members Not Agents. Nothing contained hercin shall be construed to constitute any
Member the agent of another Member, except as specifically provided herein.

17.8 Dispute Resolution. The Company and the parties to this Agreement hereby irrevocably
and unconditionally agree that any suit, action or proceeding arising out of or related to this Agreement or
the Company shall be brought only in the United States District Court for the Southern District or in the
Supreme Court of New York County, State of New York, and the specific choice from among the

t3
Nm
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 26 of 119

foregoing shall be determined by the party initiating such suit, action or proceeding. To the fullest extent
permissible by law, the Company and the partics to this Agreement hereby consent to the personal
jurisdiction, venue and forum of such courts and hereby irrevocably and unconditionally waive any claim
or objection that it is not subject to the Jurisdiction of such courts, that the venue is improper, that the
forum is inconvenient or any similar objection, claim or argument. Service of process on any of the
parties hereto with regard to any such action may be made and is considered legally proper by mailing the
process to such person by certified mail to the address of such person as provided in Section 17.1 or to
any subsequent address to which notices shall be sent.

17.9 Waiver of Trial by Jury. Each party acknowledges and agrees that any controversy
which may arise under this Agreement is likely to involve complicated and difficult issues, and therefore
each such party hereby irrevocably and unconditionally waives any right such party may have to a trial by
jury with respect to any litigation directly or indirectly arising out of or relating to this Agreement. Each
party understands and has considered the implications of this waiver. Each party makes this waiver
voluntarily.

17.10 Attomey’s Fees. If the Company, any Member or any member of Management obtains a
judgment in connection with a dispute arising under or in connection with any this Agreement, such party
Shall be entitled to recover from the hon-prevailing party its court costs, and reasonable attorney's fees
and disbursements incurred in connection therewith and in any appeal or enforcement proceeding
thereafter, in addition to all other recoverable costs.

17.11 Remedies. Subject to any express provisions of this Agreement, no remedy conferred
upon the Company, any Member or any member of Management is intended to be exclusive of any other
remedy herein or by law provided or permitted, but each shall be cumulative and shall be in addition to
every other remedy given hereunder or now or hereafter existing at law, in equity or by statute.

17.12 Waiver. No waiver by the Company, any Member or any member of Management of any
breach of this Agreement shall be deemed to be a waiver of any other breach of any kind or nature, and no
acceptance of payment or performance by the Company, any Member or any member of Management
after any such breach shall be deemed to be a waiver of any breach of this Agreement, whether or not the
Company, any Member or any member of Management knows of such breach at the time it accepts such
payment or performance. No failure or delay on the part of the Company, any Member or any member of

. Management to exercise any right it may have shall prevent the exercise thereof by the Company, any

Member or any member of Management at any time such other may continue to be so in default, and no
such failure or delay shall operate as a waiver of any default.

17.13 Entire Understanding. This Agreement (and any subscription agreement that a Member
may have entered into with the Company in connection herewith) constitutes the entire understanding
among the Members and supersedes any prior understanding and/or written or oral agreements among
them with respect to the Company. In the event of any conflict between this Agreement (and any
subscription agreement that a Member may have entered into with the Company) and any other written or
oral communications between the Company, Management or any employee or agent of either, and the
Members (including any private placement memorandum for the issuance of interests in the Company),
this Agreement (and any subscription agreement that a Member may have entered into with the
Company) shall control and take precedence. Notwithstanding anything to the contrary contained in this
Agreement, the parties hereto acknowledge that, as of the date hereof, Management. on its own behalf
and/or on behalf of the Company, may agree in letters or other writings with one or more Members (each,
an “other agreement"), and may from time to time hereafter agree in other agreements entered into with
one or more Members to be admitted to the Company following the date hercof, in its sole discretion, to
exceptions or departures from the provisions of this Agreement. Each other agreement, as in effect from
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 27 of 119

time to time, shall be incorporated herein by reference with respect to the Member or Members who are
parties thereto. The parties hereto agree that any such exceptions or departures contained in an other
agreement with a Member shall govern with respect to the Member who is a party to such other
agreement notwithstanding the provisions of this Agreement.

17.14 Further Assurances. Each of the parties hereto shall hereafter execute and deliver such
further instruments and do such further acts and things as may be required or useful to carry out the intent
and purpose of this Agreement and as are not inconsistent with the terms hereof. Recognizing that the
Company, the Members and the members of Management may find it necessary from time to time to
establish to third parties the then-current Status of performance hereunder, cach party hereto agrees, upon
the written request of another party hereto, reasonably from time to time, to furnish promptly a written
Statement of the status of any matter pertaining to this Agreement or the Company to the best of the
knowledge and belief of the party making such statements.

17.15 Counterparts and Electronic Transmission. This Agreement may be executed in
counterparts, each of which shall be an original, but all of which shall constitute one and the same
instrument. Signatures to this Agreement that are transmitted electronically (i.e., via e-mail or facsimile)

shall be binding,

[Signatures begin on next page of this document]
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 28 of 119

{Signature Page to Operating Agreement]

IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed.

 

 

 

 

 

 

 

 

 

MANAGER: MANAGER:

Michael Dardashtian David Gitman

Print Name of Manager Print Name of Mapager

LE Py La

Signature Signature
{3 fotofieca Ca. Se SS) Hy
LAREKT Je ee AN fo2 2 Bowebkln ATU Qs
Address Address {
PROFIT CAPITAL

MEMBERS: PERCENTAGES CONTRIBUTIONS
Michael Dardashtian 50% $500.00

 

Print Name of Member

 
 
  

Signature

/8 (aw F7ECA  t-

OL EAT Meck 44. {SLA
Address Va

David Gitman _ 50% $500.00

Print N f Member
NLS }
Sopue ° —

 

 

S92 S¥SL AD
lore K IG. AEX lass
Address

Macintosh HD: Users:mdardashtian: Dawnloads.Cooper Square Op. Agr vi 9.8. Eda
eat

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 29 of 119

 
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 30 of 119

_. va IRS DEPARTMENT OF THE TREASURY

INTERNAL REVENUE SERVICE
CINCINNATI OH 45999-0023

Date of this notice: 08-09-2011

Employer Identification Number:

 

Form: SS-4

Number of this notice: CP 575 A

COOPER SQUARE VENTURES

MICHAEL DARDASHTIAN MBR
10616 JAMAICA AVE For assistance you may call us at:

RICHMOND HILL, NY 11418 1-800-829-4933

IF YOU WRITE, ATTACH THE
STUB AT THE END OF THIS NOTICE.

WE ASSIGNED YOU AN EMPLOYER IDENTIFICATION NUMBER

Thank you for applying for an Employer Identification Number (EIN). We assigned you
EIN XX-XXXXXXX. This EIN will identify you, your business accounts, tax returns, and
documents, even if you have no employees. Please keep this notice in your permanent
records.

When filing tax documents, payments, and related correspondence, it is very important
that you use your EIN and complete name and address exactly as shown above. Any variation
may cause a delay in processing, result in incorrect information in your account, or even
cause you to be assigned more than one EIN. If the information is not correct as shown
above, please make the correction using the attached tear off stub and return it to us.

Based on the information received from you or your representative, you must file
the following form(s) by the date(s) shown.

Form 941 01/31/2012
Form 940 01/31/2012
Form 1065 04/15/2012

If you have questions about the form(s) or the due date(s) shown, you can call us at
the phone number or write to us at the address shown at the top of this notice. If you
need help in determining your annual accounting period (tax year), see Publication 538,
Accounting Periods and Methods.

We assigned you a tax classification based on information obtained from you or your
representative. It is not a legal determination of your tax classification, and is not
binding on the IRS. If you want a legal determination of your tax classification, you may
request a private letter ruling from the IRS under the guidelines in Revenue Procedure
2004-1, 2004-1 I.R.B. 1 (or superseding Revenue Procedure for the year at issue). Note:
Certain tax classification elections can be requested by filing Form 8832, Entity
Classification Election. See Form 8832 and its instructions for additional information.

A limited liability company (LLC) may file Form 8832, Entity Classification
Election, and elect to be classified as an association taxable as a corporation. If
the LLC is eligible to be treated as a corporation that meets certain tests and it
will be electing S corporation status, it must timely file Form 2553, Election by a
Small Business Corporation. The LLC will be treated as a corporation as of the
effective date of the S corporation election and does not need to file Form 8832.
oo

ee

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 31 of 119

(IRS USE ONLY) 575A 08-09-2011 COOP B 9999999999 ss-4

If you are required to deposit for employment taxes (Forms 941, 943, 940, 944, 945,
CT-1, or 1042), excise taxes (Form 720), ox income taxes (Form 1120), you will receive a
Welcome Package shortly, which includes instructions for making your deposits
electronically through the Electronic Federal Tax Payment System (EFTPS). A Personal
Identification Number (PIN) for EFTPS will also be sent to you under separate cover.
Please activate the PIN once you receive it, even if you have requested the services of a
tax professional or representative. For more information about EFTPS, refer to
Publication 966, Electronic Choices to Pay All Your Federal Taxes. If you need to
make a deposit immediately, you will need to make arrangements with your Financial
Institution to complete a wire transfer.

The IRS is committed to helping all taxpayers comply with their tax filing
obligations. If you need help completing your returns or meeting your tax obligations,
Authorized e-file Providers, such as Reporting Agents (payroll service providers) are
available to assist you. Visit the IRS Web site at www.irs.gov for a list of companies
that offer IRS e-file for business products and services. The list provides addresses,
telephone numbers, and links to their Web sites.

To obtain tax forms and publications, including those referenced in this notice,
visit our Web site at www.irs.gov. If you do not have access to the Internet, call
1-800-829-3676 (TTY/TDD 1-800-829-4059) or visit your local IRS office.

IMPORTANT REMINDERS:

* Keep a copy of this notice in your permanent records. This notice is issued only
one time and the IRS will not be able to generate a duplicate copy for you.

* Use this EIN and your name exactly as they appear at the top of this notice on all
your federal tax forms.

* Refer to this EIN on your tax-related correspondence and documents.

If you have questions about your EIN, you can call us at the phone number or write to
us at the address shown at the top of this notice. If you write, please tear off the stub
at the bottom of this notice and send it along with your letter. If you do not need to
write us, do not complete and return the stub. Thank you for your cooperation.

Keep this part for your records. CP 575 A (Rev. 7-2007)

Return this part with any correspondence
so we may identify your account. Please CP 575 A

correct any errors in your name or address.
9999999999

Your Telephone Number Best Time to Call DATE OF THIS NOTICE: 08-09-2011

 

 

( ) - EMPLOYER IDENTIFICATION NUMBER:
FORM: SS-4 NOBOD
INTERNAL REVENUE SERVICE COOPER SQUARE VENTURES
CINCINNATI OH 45999-0023 MICHAEL DARDASHTIAN MBR

VabucladalutsVecaDsalstoalbeasfssecelstaalLsffaal RICHMOND HILL, We 11418
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 32 of 119

 

Seal

Exhibit 4 A
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 33 of 119

LIMITED LIABILITY COMPANY OPERATING AGREEMENT
OF

NDAP, LLC
o™

ee”

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 34 of 119

Limited Liability Company Operating Agreement
of

NDAP, LLC

This Limited Liability Company Operating Agreement of the
above, a limited liability company organized pursuant to the New
York Limited Liability Company Law, is entered into and shall be
effective as of the Effective Date, by and among the Company and
the persons executing this Agreement.

ARTICLE I
DEFINITIONS

For purposes of this Agreement {as defined below}, unless the
context clearly indicates otherwise, the following terms shall have
the following meanings:

1.1 Act. The New York Limited Liability Company Act and all
amendments to the Act.

1.2 Additional Contribution, An additional Capital
Contribution payable by the Members to the Company pursuant to
Article VIII.

1.3 Additional Contribution Share. A Member's proportionate
share of an Additional Contribution, (i) equal to the product of
(A) such Member's Initial Sharing Ratio (set forth in Schedule A to
this Agreement) and (B) such Additional Contribution or (ii) as
otherwise agreed by the Members under Section 8.2.

1.4 Agreement. This Limited Liability Company Operating
Agreement including all amendments adopted in accordance with the
Agreement and the Act.

1.5 Articles. The Articles of Organization of the Company, as
amended from time to time, and filed with the Secretary of State of
New York.

1.6 Assignee. A transferee of a Membership Interest who has
not been admitted as a Substitute Member.

1.7 Bankrupt Person. A Person who: (1) has become the subject
of an Order for Relief under the United States Bankruptcy Code by
voluntary or involuntary petition, or (2) has initiated, either in
an original Proceeding or by way of answer in any state insolvency
or receivership Proceeding, an action for liquidation, arrangement,

composition, readjustment, dissolution, or similar relief.
ere

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 35 of 119

1.8 Business Day. Any day other than Saturday, Sunday or any
legal holiday observed in the State of New York.

1.9 Capital Account. The account maintained for a Member or
Assignee determined in accordance with Article VIII.

1.10 Capital Contribution. Any contribution of Property or
services made by or on behalf of a Member or Assignee.

1.11 Commitment. The Capital Contributions that a Member is
obligated to make, including a Member's Initial Capital
Contribution and any Additional. Contribution Share of a Member.

1.12 Company. The company named at the beginning of this
Operating Agreement, a limited liability company formed under the
laws of New York, and any successor limited liability company.

1.13 Default Interest Rate. The prime rate published by the
Wall Street Journal for the last Business Day on which a Commitment
is payable.

1.14 Delinquent Member. A Member who has failed to meet the
Commitment of that Member.

1.15 Disability. The inability of a Member by reason of
injury or mental or physical illness to substantially perform his
usual duties as a Manager for a period of six (6) consecutive
months without an intervening return to work exceeding twenty (20)
days during said period.

1.16 Disposition. Any sale, assignment, exchange, mortgage,
pledge, grant, hypothecation, or other transfer, absolute or as
security or encumbrance (including dispositions by operation of
Law) .

1.17 Dissociation. Any action which Causes a Person to cease
to be a Member as described in Article XII hereof.

1.18 Dissolution Event. An event, the occurrence of which will
result in the dissolution of the Company under Article XIIT.

1.19 Distribution. A transfer of Property to a Member on
account of a Membership Interest as described in Article Ix.

1.20 Effective Date. The date of filing of the Articles of
Organization or such other date a5 set forth in the Articles of
Organization.

1.21 Fiscal Year. The calendar year.
co™

ome

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 36 of 119

1.22 Initial Capital Contribution. The Capital Contribution
agreed to be made by the Members as described In Article VIII.

. 1.23 Initial Membership Interest. The Initial Membership
Interest set forth in Schedule A.

1.24 Initial Sharing Ratio. The Initial Sharing Ratio set
forth in Schedule A.

1.25 Majority. For purposes of this Agreement, Majority shall
mean more than fifty (50%) percent of the Membership Interests.

1.26 Management Right. The right of a Member to participate
in the management of the Company, to vote on any matter, and to
grant or to withhold consent or approval of actions of the Company.

1.27 Managing Member. A member (or The Member) selected to
manage the affairs of the Company under Article VII hereof.

. 1.28 Manager. A person (or the persons) selected to manage
the affairs of the Company under Article VII hereof.

1.29 Member. A person executing the Agreement as a Member,
and a Substitute Member. ‘

1.30 Membership Interest. The rights of a Member to
Distributions (liquidating or otherwise) and allocations of the
profits, losses, gains, deductions, and credits of the Company,
and, to the extent permitted by this Agreement, to possess and
exercise Management Rights.

1.31 Net Cash Flow. With respect to any fiscal period of the
Company, all revenues of the Company during that period decreased
by (a) cash expenditures for operating expenses, (b) capital
expenditures to the extent not made from reserves, (c) reserves for
contingencies and working capital, established in such amounts as
the Members may determine, ({d) repayment of principal on any
financing and (e) taxes.

1.32 Organization. A Person other than a natural person,
including without limitation corporations (both non-profit and
other corporations), partnerships (both limited and general), joint
ventures, limited liability companies, business trusts. and
unincorporated association, but the term does not include joint
tenancies and tenancies by the entirety.

1.33 Person. An individual, trust, estate, or any
Organization permitted to be a member of a limited liability
company under the laws of the State of New York.

1.34 Principal Office. The Principal Office of the Company set
ae

mo,

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 37 of 119

forth in Section 2.6.

1.35 Proceeding. Any administrative, judicial, or other
adversary proceeding, including without limitation litigation,
arbitration, administrative adjudication, mediation, and appeal or
review of any of the foregoing.

1.36 Property. Any property, real or personal, tangible or
intangible, including money, and any legal or equitable interest in
such property, but excluding services and promises to perform
services in the future.

1.37 Schedule A. Schedule A to this Agreement setting forth
the name, address, Initial Capital Contribution, number of Units,
Initial Membership Interest and Initial Sharing Ratio of each
Member, and the Member designated as the Tax Matters Partner.

1.38 Sharing Ratio. With respect to any Member, as of any
date, the ratio (expressed as a percentage) of (i) such Member's
Capital Contribution to (ii) the aggregate Capital Contributions of
all Members, or such other ratio as shall be agreed by all Members
from time to time. The Initial Membership Interest and Sharing
Ratio of each Member is set forth in Schedule A hereof, and
Schedule A shall be amended as necessary to conform to any changes
thereof agreed to by the Members. In the event all or any portion
of a Membership Interest is transferred in accordance with the
terms of this Agreement, the transferee shall succeed to the
Membership Interest and Sharing Ratio of the transferor to the
extent it relates to the transferred Membership Interest.

1.39 Substitute Member. An Assignee who has been admitted to
all of the rights of membership pursuant to Section XI hereof.

1.40 Tax Characterization and Additional Tax Terms. It is
intended that the Company be characterized and treated as a
partnership for, and solely for, federal, state and local income
tax purposes. For such Purpose, (i) the Company shali be subject to
all of the provisions of Subchapter K of Chapter 1 of Subtitle A of
the Code, (ii) all references to a "Partner," to "Partners" and to
the Partnership in this Agreement (including the provisions of
Section 7.4 and the Provisions of Article VIII) and in the
provisions of the Code and Tax Regulations cited in this Agreement
shall be deemed to refer to a Member, the Members and the Company,
respectively. In addition, the following terms Shall have the
following meanings:

(a) Adjusted Capital Account Deficit shall mean, with
respect to any Member, the deficit balance, if any, in such
Member's Capital Account as of the end of the relevant Fiscal Year,
after giving effect to the following adjustments:
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 38 of 119

(i) Credit to such Capital Account the minimum gain
chargeback that such Member is deemed to be obligated to restore
pursuant to the penultimate sentences of Section 1.704-2(g) (1) and
1.704-2 (i) (5) of the Tax Regulations; and

(ii) Debit to such Capital Account the items
described in Sections L.704-1(b) (2) (12) (d) (4), 1.704-
1(b) (2) (42) (d) (5), and 1.704-1(b) (2) (ii) (a) (6) of the Tax
Regulations.

The foregoing definition of Adjusted Capital Account Deficit is
intended to comply with the provisions of Section 1.704-
l(b) (2) (ii) (a) of the Tax Regulations and shall be interpreted
consistently therewith.

(b) Code shall mean the Internal Revenue Code of 1986.

(c) Nonrecourse Deductions has the meaning set forth in
Section 1.704~2(b) (1) of the Tax Regulations.

{d) Nonrecourse Liability has the meaning set forth in
Section 1.704-2(b) (3) of the Tax Regulations.

{e) Partner Nonrecourse Debt has the meaning set forth
in Section 1.704-2(b) (4) of the Tax Regulation.

{f) Partner Nonrecourse Debt Minimum Gain means an
amount, with respect to each Partner Nonrecourse Debt, equal to the
Partnership Minimum Gain that would result if such Partner
Nonrecourse Debt were treated as a WNonrecourse Liability,
determined in accordance with Section 1.704-2(i) (3) of the Tax
Regulations.

(g) Partner-Nonrecourse Deductions has the meaning set
forth in Sections 1.704-2(i) (1) and 1.704-2(1}) (2) of the Tax
Regulations.

(h) Partnership Minimum Gain has the meaning set forth
in Sections 1.704-2(b} (2) and I.704-2(d) of the Tax Regulations.

(i) Profits and Losses shall mean, for each Fiscal Year,
an amount equal to the Company's taxable income or loss for such
Fiscal Year, determined in accordance with Section 703(a) of the
Code (for this purpose, all items of income, gain, loss, or
deduction required to be stated separately pursuant to Section
703(a) (1) of the Code shall be included in taxable income or loss),
with the following adjustments:

 

(i) Any income of the Company that is exempt from
federal income tax and not otherwise taken into account in
computing Profits or Losses pursuant to this Section 1.36(1) shall
be added to such taxable income or loss;

5
a

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 39 of 119

{ii) Any expenditures of the Company described in
Section 705(a) (2) (B) of the Code or treated as Section 705 (a) (2} (B)
of the Code expenditures pursuant to Section 1.704-1(b) (2) (iv) (1)
of the Tax Regulations, and not otherwise taken into account in
computing Profits or Losses pursuant to this Section 1.39(i) shall
be subtracted from such taxable income or loss;

. (iii) Notwithstanding any other provisions of this
definition, any items which are specially allocated pursuant to
Sections 8.4 or 8.5 shall not be taken into account in computing
profits or Losses.

The amounts of the items of partnership income, gain, loss, ot
deduction available to be specially allocated pursuant to Sections
9.4 or 9.5 shall be determined by applying rules analogous to those
set forth in clauses (i) through (iii) above.

(j) fax Requlations shall mean the federal income tax
regulations promulgated by the United States Treasury Department
under the Code as such Tax Regulations may be amended from time to
time. All references herein to a specific section of the Tax
Regulations shall be deemed also to refer to any corresponding
provision of succeeding Tax Regulations.

 

1.41 Unit. One of the one hundred units of Membership
Interest that are authorized to be issued under this Agreement.
Each Unit represents a Membership Interest with an Initial Sharing
Ratio of one percent (1%), subject to adjustment as provided
herein.

A Unit is divisible into fractional parts. References to
Units herein shall be solely for the purpose of certificating the
Membership interests authorized hereunder. Voting, the granting or
withholding of consents or approvals, and allocation of Profits and
Losses and Distributions shall be made pursuant to the applicable
provisions of this Agreement without reference to the number of

‘Units held by Members.

ARTICLE II
FORMATION

2.1 Organization. The Members hereby organize the Company as
a New York limited liability company pursuant to the provisions of
the Act.

2.2 Agreement. For and in consideration of the mutual
covenants herein contained and for other good and valuable
consideration, the receipt and sufficiency of which is hereby
acknowledged, the Members executing the Agreement hereby agree to
the terms and conditions of the Agreement, as it may from time to
time be amended. It is the express intention of the Members that
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 40 of 119

the Agreement shall be the sole source of agreement of the parties,
and, except to the extent a provision of the Agreement expressly
incorporates federal income tax rules by reference to sections of
the Code or Tax Regulations or is expressly prohibited or
ineffective under the Act, the Agreement shall govern, even when
inconsistent with, or different than, the provision of the Act or
any other law or rule. To the extent any provision of the Agreement
is prohibited or ineffective under the Act, the Agreement shall he
deemed to be amended to the least extent necessary in order to make
the Agreement effective under the Act. In the event the Act is
subsequently amended or interpreted in such a way to make any
provision of the Agreement that was formerly invalid valid, such
provision shall be considered to be valid from the effective date
of such interpretation or amendment.

2.3 Name. The name of the Company is the name set forth
at the beginning of this Operating Agreement, and all business of
the Company shall be conducted under that name.

2.4 Term. The Company shall be dissolved and its affairs
wound up in accordance with the Act and the Agreement, unless the
term shall be extended by amendment to the Agreement and the
Articles, or unless the Company shall be sooner dissolved and its
affairs wound up in accordance with the Act or the Agreement. In
all other respects, the term is perpetual.

2.5 Registered Agent and Office. The registered agent
for the service of process and the registered office shall be that
person and location reflected in the Articles. The Members may,
from time to time, change the registered agent or office through
appropriate filings with the Secretary of State of New York. In the
event the registered agent ceases to act as such for any reason or
the registered office shall change, the Members shall promptly
designate a replacement registered agent or file a notice of change
of address as the case may be.

2.6 Principal Office. The Principal Office of the
Company shall be located at 106-16 Jamaica Avenue, Richmond Hill,
New York 11418 ‘

2.7 Publication. Within 120 days after the Effective
Date, the Members shall cause a notice containing the substance of
the Articles, in the form required by the Act, to be published once
in each week for six successive weeks in two newspapers of the
county in which the Principal Office is located.

ARTICLE III
PURPOSE; NATURE OF BUSINESS

The business purpose of the Company is to engage in any and all
business activities permitted under the laws of the State of New
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 41 of 119

York, including but not limited to the operation and management of
real property.

The Company shall have the authority to do all things necessary or
convenient to accomplish its purpose and operate its business as
described in this Article III. The Company exists only for the
purpose specified in this Article III, and may not conduct any other
business without the unanimous consent of the Members. The
authority granted to the Members hereunder to bind the Company shall
he limited to actions necessary or convenient to this business.

ARTICLE IV
ACCOUNTING AND RECORDS

4.1 Records to be Maintained. The Company shall maintain the
following records at the Principal Office:

(a) a current list of the £full name set forth in
alphabetical order and last known mailing address of each Member,
together with the information set forth on Schedule A relating to
each Member's Initial Capital Contribution, number of Units,
Membership Interest and Sharing Ratio;

(b} a copy of the Articles and all amendments thereto,
together with executed copies of any powers of attorney pursuant to
which the Articles or any such amendment has been executed;

(c} a copy of the Company's federal, state and local
income or information tax returns and reports for the three most

recent Fiscal Years;

(d) a copy of this Agreement including all amendments
thereto; and

{e) the Company's books and records, including financial
statements of the Company, which shall be open to inspections by the
Members or their agents at reasonable times.

4.2 Reports to Members. The Company shall provide reports,
including a balance sheet.

4.3 Tax Returns and Reports. The Members, at Company expense,
Shall prepare and timely file income tax returns of the Company in
all jurisdictions where such filings are required, and the Company
shall prepare and deliver to each Member, within ninety (90) days
after the expiration of each Fiscal Year, and at Company expense,
all information returns and reports required by the Code and Tax
Regulations and Company information necessary for the preparation
of the Members' federal income tax returns.
[

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 42 of 119

ARTICLE V
NAMES AND ADDRESSES OF MEMBERS

The names and addresses of the Members are as stated on Schedule A.

ARTICLE VI
RIGHTS AND DUTIES OF MEMBERS

6.1 Management Rights. No member other than the Managing
Member shall have authority to bind the Company on any Management
Right except that the following actions shall require the Majority
consent of all of the Members:

( a) the sale of Company Property other than in the
ordinary course of business;

( b) the merger or consolidation of the Company with any
other Person;

( c) the continuation of the Company after a Dissolution
Event;

( d) the borrowing of funds or the pledging, moxtgaging
or otherwise encumbering of any Company Property, except in the
ordinary course of business.

. { e) the requirement that Additional Contributions be
made.

( £) the selection of the Company's regularly engaged
accountants;

and the following actions shall require the consent of sixty-six and
two-thirds (66 2/3 %) percent of all Members:

(a) any amendment to the Agreement or to the Articles;

(b) the payment of compensation to the Managing Members;
and

{c) the admission of a new Member.

6.2 Liability of Members. No Member shall be liable as such
for the liabilities of the Company.

6.3. Indemnification. A Member shall indemnify the Company for
any costs or damages incurred by the Company as a result of any
unauthorized action by such Member.

6.4 Representations and Warranties. Each Member, and in the
oy

if a
f n

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 43 of 119

case of a trust or other entity, the person(s) executing the
Agreement on behalf of the entity, hereby represents and warrants
to the Company and each other Member that: (a) if the Member is an
entity, it has power to enter into the Agreement and to perform its
obligations hereunder and that the person(s) executing the Agreement
on behalf of the entity has the power to do so; and (b) the Member
is acquiring its interest in the Company for the Member's own
account as an investment and without an intent to distribute the
interest. The Members acknowledge that their interests in the
Company have not been registered under the Securities Act of 1933
or any state securities laws, and may not be resold or transferred
without appropriate registration or the availability of an exemption
from such requirements.

6.5 Conflicts of Interest/Confidentiality.

(a) David Gitman and Michael Dardashtian shall not be
entitled to enter into transactions that may be considered to be
competitive with the Company and agree that during the term of this
Agreement and for a period of twenty-four (24) months following the
termination of this Agreement, they shall not be engaged in any
business, whether internet based or of a traditional brick and
mortar type that is competitive with the Company without the express
written permission of the Majority of the Members of the Company.
If such competitive business is of a traditional brick and mortar
type, such business will not be considered competitive if it is
located outside of the City of New York or Nassau and Suffolk
counties or the District of Columbia or Prince Georges County in

Maryland.

(b) A Member, including a Managing Member, does not
violate a duty or obligation to the Company merely because the
Member's conduct furthers the Member's own interest. A Member may
lend money to and transact other business with the Company. The
rights and obligations of a Member who lends money to or transacts
business with the Company are the same as those of a person who is
not a Member, subject to other applicable law. No transaction with
the Company shall be voidable solely because a Member has a direct
ox indirect interest in the transaction if the transaction is fair
and reasonable to the Company.

(c) David Gitman and Michael Dardashtian agree that all
Confidential Information they receive while Members of the Company
shall be maintained by them in the strictest of confidence, to be
used only in connection with the operation of the Company and for
no other purpose, including, but not limited to the retail or
wholesale distribution or sale of auto parts, whether through
internet based or through a traditional brick and mortar locations,
unless with the express written permission of the Majority of the
Members of the Company. For purposes of this Agreement,
Confidential Information shall mean information which is non-public,

10
=,

‘Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 44 of 119

confidential or proprietary in nature.

ARTICLE VII
MANAGING MEMBER

7.1 Managing Member. Except as otherwise provided in the
Agreement, the management of the Company and all decisions
concerning the daily business affairs of the Company shall be made
by the Managing Member. The Managing Members shall he: Cooper
Square Ventures, LLC, the Members of which must be only David Gitman
or Michael Dardashtian or either of them and no other natural
persons or entities unless agreed to by the Majority Members.

7.2 Term of Office as Managing Member. Each Managing Member
Shall serve until the Dissociation of such Managing Member or any
removal of such Managing Member pursuant to Section 7.8.

7.3 Authority of Managing Member to Bind the Company. Only
the Managing Members and authorized agents of the Company shall have
the authority to bind the Company. Subject to Section 6.1, the
Managing Members have the power, on behalf of the Company, to do all
things necessary or convenient to carry out the daily business and
affairs of the Company (as described in Article III), including:

(x) the establishment of the Company's offices;

{y) the hiring and appointment of employees and agents
of the Company, the defining of their duties and the establishment
of their compensation, and the dealing with tradespeople on such
terms as the Managing Members shall determine;

(z) the purchase of liability and other insurance to
protect the Company's business and Property;

but shall specifically not include the following, which shall be
decided by a Majority of the Members:

(a) the institution, prosecution and defense of any
Proceeding in the Company's name;

(b) the purchase, receipt, lease or other acquisition,
ownership, holding, improvement, use and other dealing with Real
Property, wherever located;

(c) the sale, conveyance, mortgage, pledge, lease,
exchange, and other disposition of Property, except in the ordinary
course of business of the Company;

{d) the entering into of contracts and guaranties
involving greater than $ 50,000.00 either singly or cumulatively,

11
ad

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 45 of 119

incurring of liabilities; borrowing of money, issuance of notes,
bonds, and other obligations, and the securing of any of its
obligations by mortgage or pledge of any of its Property or income;

(e) the lending of money, investment and reinvestment of
the Company's funds, and receipt and holding of Property as security
for repayment;

(£) the payment of pensions and establishment of pension
plans, pension trusts, profit sharing plans, and benefit and
incentive plans for Members, employees, and agents of the Company;

{g) the participation in partnership agreements, joint
ventures, or other associations of any kind with any entity, person
or persons;

(h) the indemnification of any Person;

(1) the making of such elections under the Code and Tax
Regulations and other relevant tax laws as to the treatment of items
of Company income, gain, loss, deduction and credit, and as to all
other relevant matters as the Managing Member deems necessary or
appropriate, including without limitation, elections referred to in
Section 754 of the Code, the determination of which items of cash
outlay shall be capitalized or treated as current
expenses, and the selection of the method of accounting and
bookkeeping procedures to be used by the Company.

7.4 Actions of the Managing Member. The Managing Member has
the power to bind the Company as provided in this Article VII. No
Person dealing with the Company shall have any obligation to inquire
into the power or authority of the Managing Member acting on behalf
of the Company. If there is more than one Managing Member, the
Managing Members shall manage the Company by the affirmative vote
of all the Managing Members.

7.5 Compensation of Managing Member. The Managing Member
shall be reimbursed for all reasonable expenses incurred in managing
the Company and shall not be entitled to compensation, unless a
Majority of all of the Members’ consent thereto. The Managing
Members shall be required to devote full time to the management of
the Company business for the proper Management of such business and
be the principal activity that the Managing Members are engaged in.

David Gitman and Michael Dardashtian shall each receive a
salary from the Company of $1,000.00 per week, which shall begin on
November 1, 2011.

7.6 Managing Member's Standard of Care. Each Managing Member
shall discharge the Managing Member's duties to the Company and the

12
me

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 46 of 119

!
!

other Members in good faith and with that degree of care that an
ordinarily prudent person in a similar position would use under
similar circumstances, recognizing he or she is acting on behalf of
all Members in the nature of a fiduciary. In discharging its duties
and obligations, as set for in section 7.7, a Managing Member shall
be fully protected in relying in good faith upon the records
required to be maintained under Article IV and upon = such
information, opinions, reports or statements by ‘any Person as to
matters the Managing Member reasonably believes are within such
other Person's professional or expert competence and who has been
selected with reasonable care by or on behalf of the Company,
including information, opinions, reports or statements as to the
value and amount of the assets, liabilities, profits or losses of
the Company or any other facts pertinent to the existence and amount

‘of assets from which Distributions to Members might properly be

paid. The Company shall indemnify and hold harmless each Managing
Member against any loss, damage or expense (including attorneys'
fees) incurred by the Managing Member as a result of any act
performed or omitted on behalf of the Company or in furtherance of
the Company's interests without, however, relieving the Managing
Member of liability for failure to perform his or her duties in
accordance with the standards set forth herein. The Satisfaction
of any indemnification and any holding harmless shall be from and
limited to Company Property and the other Members shall not have any
personal liability on account thereof.

7.7 Authority of the Managing Members. The Managing Members
shall have full and complete charge of all daily affairs of the
Company, its management and control, subject to the terms and
conditions of this Agreement. Except as otherwise prohibited by law
or by this Agreement, the Managing Members shall continue to possess
all of the rights and powers of a member in a limited liability
company under the laws of the State of New York.

Notwithstanding anything contained herein to the contrary,
all decisions concerning the affairs of the Company and its
management and control shall be made by the unanimous consent of all
Managing Members if there be more than one (1) Managing Member. The
preceding sentence shall not apply, however, in the event that the
Managing Members unanimously designate one (1) of the Managing
Members to serve as the Managing Member. In such event, the
Managing Members shall have the exclusive control and management of
the day-to-day operation of the Company business. The Managing
Member shall continue to serve as such for as long as he or she
shall have the unanimous consent of the Managing Members.

7.8 Resignation; Removal of Managing Member. The Managing
Member shall have a right to resign upon sixty (60) days’ notice to
the Company, and may be removed as Managing Members by a Majority
vote of the Members only for cause which for Purposes of this

13
eet

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 47 of 119

Agreement shall be defined to mean gross misconduct injurious to the
Company, a willful failure to perform their duties or the conviction
of a crime.

ARTICLE VIII
CONTRIBUTIONS AND CAPITAL ACCOUNTS

8.1 Initial Contributions. Each Member shall make the Initial
Capital Contribution described for that Member on Schedule A at the
time and on the terms specified in Schedule A and shall perform that
Member’s Commitment, and shall receive the number of Units of
Membership Interest and Sharing Ratio described for that Member on
Schedule A. The Managing Member shall issue certificates
representing the Units subscribed for by the Members. No Member
Shall have the right to withdraw or be repaid any Capital
Contribution except as provided in the Agreement.

8.2 Additional Contributions. In addition to the Initial
Capital Contributions, the Members shall make such Additional
Contributions as the Majority of the Members shall vote, from time
to time. However, no additional capital contributions shall be
required until the following is done by the Company:

(@) make reasonable attempts to borrow the amount of
additional funds determined needed by the Majority and then

(b) allow each Member the opportunity to lend to the
Company additional funds determined by the Majority to be necessary
as provided in paragraph 8.3.

8.3 Enforcement of Commitments. In the event any Member (a
Delinquent Member) fails to perform the Delinquent Member's
obligation to commit additional capital pursuant to section 8.2
above, the other Members shall give the Delinquent Member a notice
of such failure. If the Delinquent Member fails to perform the
Commitment (including the payment of any costs associated with the
failure and interest at the Default Interest Rate) within ten
Business Days of the giving of such notice, the other Members may

reduce the number of units and sharing ratio of the non-
contributing partner and increase the number of units and sharing
ratio of the contributing member by a percentage equal to the
fraction, the numerator of which is the capital advanced by the
contributing member and the denominator of which is the total
capital contributions contributed by all Members since inception of
the Company.

In the event the Delinquent Member fails to meet such
Commitments, the other Members may elect to lend additional money
to the Company at an interest rate equal to the Prime Rate of
JPMorgan Chase in effect at the time the loan is cutstanding, as
adjusted monthly.

14
po

oo.

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 48 of 119

8.4 Capital Account. A separate capital account shall be
maintained for each Member throughout the term of the Company in
accordance with the rules of Section 1.704- 1(b) (2) (iv) of the Tax
Regulations as in effect from time to time, and, to the extent not
inconsistent therewith, to which the following provisions apply:

(a) To each Member's Capital Account there shall be
credited (i) the amount of money contributed by such Member to the
Company (including liabilities of the Company assumed by such Member
as provided in Section 1.704-1(b) (2) (iv) (c) of the Tax Regulations);
(ii) the fair market value of any property contributed to the
Company by such Member (net of liabilities secured by such
contributed property that the Company is considered to assume or
take subject to under Section 752 of the Code); and (iii) such
Member's share of Profits and items of income and gain that are
specially allocated.

(b) To each Member's Capital Account there shall be
debited (i) the amount of money distributed to such Member by the
Company (including liabilities of such Member assumed by theCompany
as provided in Section 1.704-1(b) (2) (iv) (c) of the Tax Regulations}
other than amounts which are in repayment of debt obligations of the
Company to such Member; (ii) the fair market value of property
distributed to such Member (net of liabilities secured by such
distributed property that such Member is considered to assume or
take subject to under Section 752 of the Code); and (iii) such
Member's share of Losses or items of loss or deduction that are
specifically allocated.

{c) The Capital Account of a transferee Member shall
include the appropriate portion of the Capital Account of the Member
from whom the transferee Member's interest was obtained.

(d) In determining the amount of any liability, there
shall be taken into account Section 752(c) of the Code and any other
applicable provisions of the Code and Tax Regulations.

The foregoing provisions and the other provisions of this Agreement
relating to the maintenance of Capital Accounts are intended to
comply with Section 1.704-1(b) of the Tax Regulations, and shall be
interpreted and applied in a manner consistent with such Tax
Regulations. In the event the Members shall determine that it is
prudent to modify the manner in which the Capital Accounts, or any
debits or credits thereto (including, without limitation, debits or
credits relating to liabilities that are secured by contributed or
distributed property or that are assumed by the Company or any
Member), are computed in order to comply with such Tax Regulations,
the Members may make such modification, provided that it is not
likely to have a material effect on the amounts distributable to any
Member pursuant to Article XII hereof upon the dissolution of the

15
De,

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 49 of 119

Company. The Members also shall (i) make any adjustments that are
necessary or appropriate to maintain equality between the Capital
Accounts of the Members and the amount of Company capital reflected
on the Company's balance sheet, as computed for book purposes, in
accordance with Section 1.704-1(b) (2) (iv) (g) of the Tax Regulations
and (ii) make any appropriate modifications in the event
unanticipated events might otherwise cause this Agreement not to
comply with Section 1.704-1(b) of the Tax Regulations.

8.5 No Obligation to Restore Deficit Balance. Except as
required by law, no Member shall be required to restore any deficit
balance in its Capital Account.

8.6 Withdrawal; Successors. A Member shall not be entitled to
withdraw any part of its. Capital Account or to receive any
distribution from the Company, except as specifically provided in
the Agreement, and no Member shall be entitled to make any capital
contribution to the Company other than the Commitments. Any Member,
including any additional or Substitute Member, who shall receive an
interest in the Company or whose interest in the Company shall be
increased by means of a transfer to it of all or part of the
interest of another Member, shall have a Capital Account with
respect to such interest initially equal to the Capital Account with
respect to such interest of the Member from whom such interest is
acquired except as otherwise required to account for any step up in
basis resulting from a termination of the Company under Section 708
of the Code by reason of such interest transfer. .

8.7 Interest. No Member shall be entitled to interest on such
Member's Capital Contribution or on any Profits retained by the
Company.

8.8 Investment of Capital Contributions. The Capital
Contributions of the Members shall be invested in demand, money
market or time deposits, obligations, securities, investments or
other instruments constituting cash equivalents, until such time as
such funds shall be used for Company purposes. Such investments
Shall be made for the benefit of the Company.

8.3 No Personal Liability. No Member shall have any personal
liability for the repayment of any Capital Contributions of any
Member.

ARTICLE IX
ALLOCATIONS AND DISTRIBUTIONS

9.1 Profits and Losses. Profits and Losses, and each item of
Company income, gain, loss, deduction, credit and tax preference
with respect thereto, for each Fiscal Year (or shorter period in
respect of which such Items are to be allocated) shall be allocated
among the Members as provided in this Article IX.

16
te te

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 50 of 119

9.2 Profits. After giving effect to the special allocations
set forth in Sections 9.4 and 9.5, Profits for any Fiscal Year shall
be allocated in the following order of priority:

(a} First, to the Members, if any, who received any
allocation of Losses under Section 9.3({c), in proportion to (and to
the extent of) the excess, if any, of (i) the cumulative Losses
allocated to such Members pursuant to Section 9.3(c) for all prior
Fiscal Years, over (ii) the cumulative profits allocated to such
Members pursuant to this Section 9.2{a) for all prior Fiscal Years;

(b) Second, to the Members, in Proportion to (and to the
extent of) the excess, if any, of (i) the cumulative Losses
allocated to each Member pursuant to Section 9.3(b) hereof for all
prior Fiscal Years, over (ii) the cumulative Profits allocated to
each Member pursuant to this Section 9.2(b) for all prior Fiscal
Years;

(c) Third, to the Members, in proportion to (and to the
extent of) the excess, if any, of (i) the cumulative Losses
allocated to each Member pursuant to Section 9.3(a) (ii) hereof for
all prior Fiscal Years, over (ii) the cumulative Profits allocated
to such Member pursuant to this Section 9.2(c) for all prior Fiscal
Years;

(d) Fourth, the balance of the Profits remaining, if any,
among the Members, pro rata, in proportion to their respective
Sharing Ratios.

(e) Notwithstanding the provisions of Section 9.2 and 9.3,
David Gitman and Michael Dardashtian together, or an entity formed
by them, shall receive an allocation of profits and losses equal to
sixty-six and two thirds (66 2/3%) percent during the initial
twenty-four (24) months of the term of this Agreement and thereafter
fifty (50%) percent of profits or losses for each month thereafter.

Notwithstanding the above [entity to be formed]
agrees to lend to the Company its share of its allocated profit
(less taxes due thereon) earned during the first twenty-four months
of operation of the Company, without interest.

9.3 Losses. After giving effect to the special allocations set
forth in Sections 9.4 and 9.5, Losses shall be allocated as set
forth in Section 9.3(a), subject to the limitation in Section 9.3(b}
below, and, if applicable, as provided in Section 9.3(c).

(a) Losses for any Fiscal Year shall be allocated in the
following order of priority:

(i) first, to the Members in proportion to and to the
extent of the excess, if any, of (A) the cumulative Profits

17
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 51 of 119

allocated to each such Partner pursuant to Section 9.2(d) hereof for
all prior Fiscal Years, over B) the cumulative Losses allocated to
such Partner pursuant to this Section 9.3(a) (i) for all prior Fiscal
Years; and

(ii) the balance, if any, among the Members in
proportion to their respective Sharing Ratios.

(b) The Losses allocated pursuant to Section 9.3(a) hereof
shall not exceed the maximum amount of Losses that can be so
allocated without causing any Member to have an Adjusted Capital
Account Deficit at the end of any Fiscal Year. In the event some,
but not all, of the Members would have Adjusted Capital Account
Deficits as a consequence of an allocation of Losses pursuant to
Section 9.3(a) hereof, the limitation set forth in this Section
9.3(b) shall be applied on a Member by Member basis so as to
allocate the maximum permissible Losses to the Members under Section
1.704-1(b) (2) (ii) (d) of the Tax Regulations.

(c} In the event that there are any remaining Losses in
excess of the limitations set forth in Section 9.3(b), such
remaining Losses shall be allocated among the Members in proportion
to their respective Sharing Ratios.

9.4 Special Allocations. The following spécial allocations
shall be made in the following order:

(a) Minimum Gain Chargeback. Except as otherwise provided
in the Tax Regulations, notwithstanding any other provision of this
Article VIII, if there is a net decrease in Partnership Minimum Gain
during any Fiscal Year, each Member shall be specially allocated
items of Company income and gain for such Fiscal Year (and, if
necessary, subsequent Fiscal Years) in an amount equal to such
Member's share of the net decrease in Partnership Minimum Gain,
datermined in accordance with Section 1.704-2(g) of the Tax
Regulations. Allocations pursuant to the previous sentence shall be
made in proportion to the respective amounts required to be
allocated to each Member pursuant thereto. The items to be so
allocated shall be determined in accordance with Sections 1.704-
2(f) (6) and 1.704-2(5)(2) of the Tax Regulations. This Section
9.4(a) is intended to comply with the minimum gain chargeback
requirement in Section 1.704-2(£)- of the Tax Regulations and shall
be interpreted consistently therewith.

{b) Partner Minimum Gain Chargeback. Except as otherwise
provided in Section 1.704-2(i)(4) of the Tax Regulations,

notwithstanding any other provision of this Article VIII, if there
is a net decrease in Partner Nonrecourse Debt Minimum Gain
attributable to a Partner Nonrecourse Debt during any Fiscal Year,
each Member who has a share of the Partner Nonrecourse Debt Minimum
Gain attributable to such Partner Nonrecourse Debt, determined in

 

18
vr

ee

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 52 of 119

accordance with Section 1.704-2(i) (5) of the Tax Regulations, shall
be specifically allocated items of Company income and gain for such
Fiscal Year (and, if necessary, subsequent Fiscal Years) in an
amount equal to such Member's share of the net decrease in Partner
Nonrecourse Debt Minimum Gain attributable to such Partner
Nonrecourse Debt, determined in accordance with Section 1.704-
2(i) (4) of the Tax Regulations. Allocations pursuant to the previous
sentence shall be made in proportion to the respective amounts
required to be allocated to each Member pursuant thereto. The items
to be so allocated shall be determined in accordance with Sections
1.704~2(i) (4) and 1.704-2(5) (2) of the Tax Regulations. This Section
9.4(b) is intended to comply with the minimum gain chargeback
requirement in Section 1.704-2(i) (4) of the Tax Regulations and
shall be interpreted consistently therewith.

(c) Qualified Income Offset. In the event any Member
unexpectedly receives any adjustments, allocations, or distributions
described in Section 1.704- 1{b) (2) (11) (d) (4), Section 1.704-
1(b) (2) (3) (d) (5), or Section 1.704-1(b) (2) (ii) (d) (6) of the Tax
Regulations, items of Company income and gain shall be specially
allocated to the Member in an amount and manner sufficient to
eliminate, to the extent required by the Tax Regulations, the
Adjusted Capital Account Deficit of the Member as quickly as
possible, provided that an allocation pursuant to this Section
9.4(c) shall be made only if and to the extent that the Member would
have an Adjusted Capital Account Deficit after all other allocations
provided for in this Article IX have been
tentatively made as if this Section 9.4(c) were not in this
Agreement.

(d) Gross Income Allocation. In the event any Member has
a deficit Capital Account at the end of any Fiscal Year which is in
excess of the sum of the amounts such Member is deemed to be
obligated to restore pursuant to the penultimate sentences of
Sections 1.704-2(g) (1) and 1.704-2(i) (5) of the Tax Regulations,
each such Member shall be specially allocated items of Company
income and gain in the amount of such excess as quickly as possible,
provided that an allocation pursuant to this Section 9.4(d) shall
be made only if and to the extent that such Member would have a
deficit Capital Account in excess of such sum after all other
allocations provided for in this Article IX have been made as if
Section 9.4(c) and this Section 9.4(d) were not in this Agreement.

 

(e) Nonrecourse Deductions. Nonrecourse Deductions for any
Fiscal Year shall be specially allocated among the members in
proportion to their Sharing Ratios.

 

(f£) Partner  Nonrecourse Deductions. Any Partner
Nonrecourse Deductions for any Fiscal Year shall be specially
allocated to the Member who bears the economic risk of loss with
respect to the Partner Nonrecourse Debt to which such Partner
Nonrecourse Deductions are attributable in accordance with Section

19
a

. ee

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 53 of 119

1.704-2(i) (1) of the Tax Regulations.

(g) Mandatory Allocations Under Section 704({c) of the
Code. Notwithstanding the foregoing provisions of this Section 8.4,
in the event Section 704(c) of the Code or Section 704(c) of the
Code principles applicable under Section 1.704-1(b) (2) (iv) of the
Tax Regulations require allocations of Profits or Losses in a Manner
different than that set forth above, the provisions of Section
704{c) of the Code and the Tax Regulations thereunder shall control
such allocations among the Members. Any item of Company income,
gain, loss and deduction with respect to any property (other than
cash) that has been contributed by a Member to the capital of the
Company or which has been revalued for Capital Account purposes
pursuant to Section 1.704-1(b) (2) (iv) of the Tax Regulations) and
which is required or permitted to be allocated to such Member for
income tax purposes under Section 704{c) of the Code so as to take
into account the variation between the tax basis of such property
and its fair market value at the time of its contribution shall be
allocated solely for income tax purposes in the manner so required
or permitted under Section 704(c) of the Code using the "traditional
method" described in Section 1.704-3(b) of the Tax Regulations;
provided, however, that curative allocations consisting of the
special allocation of gain or loss upon the sale or other
disposition of the contributed property shall be made in accordance
with Section 1.704-3(c) of the Tax Regulations to the extent
necessary to eliminate any disparity, to the extent possible,
between the Members' book and tax Capital Accounts attributable to
such property; further rovided, however, that any other method
allowable under applicable Tax Regulations may be used for any
contribution of property as to which there is agreement between the
contributing Member and the other Members.

 

9.5 Curative Allocations. The allocations set forth in
Sections 9.4 (a) through (q) (the “Regulatory Allocations") are
intended to comply with certain requirements of the Tax Regulations.
It is the intent of the Members that, to the extent possible, all
Regulatory Allocations shall be offset either with other Regulatory
Allocations or with special allocations of other items of Company
income, gain, loss, or deduction pursuant to this Section 3.5,
Therefore, notwithstanding any other provision of this Article IX
(other than the Regulatory Allocations), the Members shall make such
offsetting special allocations of Company income, gain, loss, or
deduction in whatever manner it determines appropriate so that,
after such offsetting allocations are made, each Member's Capital
Account balance is, to the extent possible, equal to the Capital
Account balance such Member would have had if the Regulatory
Allocations were not part of this Agreement and all Company items
were allocated pursuant to Sections 9.2 and 9.3. The Members (i)
shall take into account future Regulatory Allocations under Sections
9.4(a) and 9.4(b) that, although not yet made, are likely to offset
other Regulatory Allocations previously made under Sections 9.4 (e}

20
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 54 of 119

and 9.4(£) and (ii) may reallocate Profits and Losses for prior open
years (or items of gross income and deduction of the Company for
such years) among the Members to the extent it is not possible to
achieve such result with allocations of items of income (including
gross income) and deduction for the current year and future years.
This Section 9.5 shall control notwithstanding any reallocation or
adjustment of taxable income, taxable loss, or items thereof by the
Internal Revenue Service or any other taxing authority.

9.6 Other Allocation Rules.

{a) For purposes of determining the Profits, Losses, or
any other item allocable to any period {including allocations to
take into account any changes in any Member's Sharing Ratio during
a Fiscal Year and any transfer of any interest in the Company),
Profits, Losses, and any such other item shall be determined ona
daily, monthly, or other basis, as determined by the Members using
any permissible method under Section 706 of the Code and the Tax
Regulations thereunder. ‘

{(b) The Members are aware of the income tax consequences
of the allocations made by this Article IX and hereby agree to be
bound by the provisions of this Article IX in reporting their shares
of Company income and loss for income tax purposes.

(c) Solely for purposes of determining a Member's
proportionate share of the "excess nonrecourse liabilities of the
partnership within the meaning of Section 1.752-3(a) (3) of the Tax
Regulations, the Members' interests in Company Profits are in
proportion to their Sharing Ratios.

(dq) To the extent permitted by Section L.704-2(h) (3) of
the Tax Regulations, the Members Shall endeavor to treat
distributions of Net Cash Flow as having been made from the proceeds
of a Nonrecourse Liability or a partner Nonrecourse Debt only to the

extent that such distributions would cause or increase an Adjusted

Capital Account Deficit for any Partner.

(e} Except as otherwise provided in this Article IX, an
allocation of Company Profits or Losses to a Member shall be treated
as an allocation to such Member of the same share of each item of
income, gain, loss and deduction taken into account in computing
such Profits or Losses.

(£) For purposes of determining the character (as
ordinary income or capital gain) of any profits allocated to the
Members pursuant to this Article IX, such portion of profits that
is treated as ordinary income attributable to the recapture of
depreciation shall, to the extent possible, be allocated among the
Members in the proportion which {i) the amount of depreciation
previously allocated to each Member bears to (ii) the total of such

al
as
¢ y

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 55 of 119

depreciation allocated to all Members. This section 9.6(£) shall not
alter the amount of allocations among the Members pursuant to this
Article IX, but merely the character of income so allocated.

(g) Except for arrangements expressly described in this
Agreement, no Member shall enter into (or permit any Person related
to the Member to enter into) any arrangement with respect to any
liability of the Company that would result in such Member {or a
person related to such Member under Section 1.752-4(b) of the Tax
Regulations) bearing the economic risk of loss (within the meaning
of Section 1.752-2 of the Tax Regulations) with respect to such
liabilities unless such arrangement has been approved by all
Members. To the extent a Member is permitted to guarantee the
repayment of any Company indebtedness under this Agreement, each of
the other Members shall be afforded the opportunity to guarantee
such Member's pro rata share of such indebtedness, determined in
accordance with the Members' respective Sharing Ratios.

9.7 Minimum 1% Interest of Managing Member. Notwithstanding
anything in this Article IX, the Managing Member shall at all times
during the existence of the Company have a minimum 1% allocation of
each material item of income, gain, loss, deduction and credit of
the Company.

9.8 Distribution of Net Cash Flow. {a} Amounts and Timing. Net
Cash Flow shall be distributed to the Members -in proportion to their
respective shares of Profits allocated to each of them for such
period (and prior periods) under Section 9.3, to the extent that
such amounts have not heen distributed previously under this Section
9.7. Such distributions shall be made within 90 days of the end of
each Fiscal Year to those persons recognized on the books of the
Company as Members or as Assignees on the last day of such Fiscal
Year.

(b) Amounts Withheld. All amounts withheld pursuant to
the Code and Tax Regulations or any provision of any state or local
tax law with respect to any payment, distribution, or allocation to
the Company or the Members shall be treated as amounts distributed
to the Members pursuant to this Section 9.7 for all purposes under
this Agreement. The Members are authorized to withhold = from
distribution, or with respect to allocations, to the Members and to
Pay over to any federal, state, or local government any amounts
required to be so withheld pursuant to the Code and Tax Regulations
or any provision of any other federal, state, or local law, and
Shall allocate any such amounts to the Members with respect to which
such amount was withheld.

 

{c) Draws for Members. The Company may pay to each Member
a quarterly draw, to be unanimously determined by a Majority of the
Members, and each such draw, if any, shall be treated as a loan from
the Company to each Member receiving such draw and shall be deemed

 

22
~,

dl

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 56 of 119

repaid by reducing the amount of each subsequent distribution to the
Member receiving such draw pursuant to this Section 9.7(c) by the
lesser of (a) the entire amount otherwise distributable to the
Member receiving such draw and (b) the entire amount of any unrepaid
draws pursuant to this Section 9.7(c). All draws hereunder shall be
made to the Members pro rata based on their estimated respective
Shares of Profits allocated to each of them for such Fiscal Year
under this Article VIII. Any draw by any Member made pursuant to
this Section 9.7{c) shall not result in any decrease in the Sharing
Percentage of such Member.

ARTICLE XK
TAXES

10. 1 Tax Matters Partner. The Managing Members shall be
the Tax Matters Partner of the Company pursuant to Section
6231 (a) (7) of the Code. Such Managing Member shall not resign as the
Tax Matters Member unless, on the effective date of such
resignation, the Company has designated another Member as Tax
Matters Member and such Member has given its consent in writing to
its appointment as Tax Matters Member. The Tax Matters Member shall
receive no additional compensation from the Company for its services
in that capacity, but all expenses incurred by the Tax Matters
Member in such capacity shall be borne by the Company. The Tax
Matters Member is authorized to employ such accountants, attorneys
and agents as it, in its sole discretion, determines is necessary
to or useful in the performance of its duties. In addition, such
Member shall serve in a similar capacity with respect to any similar
tax related or other election provided by state or local laws.

10.2 Mandatory Section 754 Election. Upon a transfer by a
Member of an interest in the Company, which transfer is permitted
by the terms of this Agreement, or upon the death of a Member or the
distribution of any Company Property to one or more Members, the
Members, upon the request of one or more of the transferees or
distributees, shall cause the Company to file an election on behalf
of the Company, pursuant to Section 754 of ‘the Code, to cause the
basis of the Company's property to be adjusted for federal income
tax purposes in the manner prescribed in Section 734 or Section 743
of the Code,. as the case may be. The cost of preparing such
election, and any additional accounting expenses of the Company
occasioned by such election, shall be borne by such transferees or
distributees.

ARTICLE XI
DISPOSITION OF MEMBERSHIP INTERESTS

 

11.1 Disposition. Except as set forth in this Article XI, no
Member or Assignee may Transfer all or a portion of the Member's or
Assignee's Membership Interest.

23
od
aa

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 57 of 119

11.2 Dispositions not in Compliance with this Article Void.
Except as expressly permitted or required by this Agreement, no
Member or Assignee shall Transfer all or any portion of his
Membership Interest in the Company or any rights therein without the
consent of a Majority. Any Transfer or attempted Transfer by any
Member or Assignee in violation of the preceding sentence shall be
null and void and of no force or effect whatsoever.

11.3 Restrictions on Transfers. Fach Member hereby acknowledges
the reasonableness of the restrictions on Transfer imposed by this
Agreement in view of the Company's purposes and the relationship of
the Members. Accordingly, the restrictions on Transfer contained
herein shall be specifically enforceable. Bach Member hereby further
agrees to hold the Company and each Member (and each Member's
Successors and assigns) wholly and completely harmless from any
cost, liability, or damage (including, without limitation,
liabilities for income taxes and costs of enforcing this indemnity)
incurred by any of such indemnified Persons as a result of a
Transfer or an attempted Transfer in violation of this Agreement.

11.4 Permitted transfers.

 

(a) General. A Member or Assignee shall have the right to
Transfer all or any portion of his Membership Interest only by means
ef a Permitted Transfer.

(b) Definition of Permitted Transfer; Permitted Transferees.

(i) A "Permitted Transfer" is any Transfer by a
Member or Assignee of all of that Member's Membership Interest to
a Permitted Transferee provided that such Transfer otherwise
complies with the conditions and restrictions of this Article XI.

(ii) A “Permitted Transferee" of a Member ‘or Assignee
is any Person who is (1) another Member of the Company, (2) any
other Person approved as a Permitted Transferee by the consent of
a Majority or (3) permitted to receive a Membership Interest
pursuant to Sections 11.6, 11.7, 11.8 or 11.9 hereof.

c) Conditions to Permitted Transfers. A Transfer
otherwise permitted as a Permitted Transfer under this Section shail
not be a valid Transfer of a Membership Interest and shall be
considered null and void unless and until the following conditions
are satisfied:

(i) The transferor and transferee shall execute such
documents and instruments of conveyance and assumption as may be
necessary Or appropriate in the opinion of counsel to the Company
to effect such Transfer and to confirm the Pemmitted Transferee's
agreement to be bound by the provisions of this Agreement and
assumption of all monetary obligations of the transferor Member with

24
a

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 58 of 119

respect to the Membership Interest being transferred and the
transferor Member's agreement to guarantee the prompt payment and
performance of such assumed.obligations.

(ii) The transferor and transferee shall furnish the
Company with the transferee's taxpayer identification number,
sufficient information to determine the transferee's initial tax
basis in the Membership Interest Transferred, and any other
information reasonably necessary to permit the Company to file all
required Federal and state tax returns and other legally required
information statements or returns. Without limiting the generality
of the foregoing, the Company shall not be required to make any
Distribution otherwise provided for in this Agreement with respect
to any Transferred Membership Interest until it has received such
information.

(iii) Except as otherwise specifically provided, a
Member making a Permitted Transfer of all of his Membership Interest
and the Permitted Transferee thereof shall pay all reasonable costs
and expenses incurred by the Company in connection with such
Transfer.

(iv) In the opinion of tax counsel to the Company,
the transfer of the Membership Interest shall have no adverse tax
consequences for the Company.

(d) Admission of Permitted Transferee as a Member. A Permitted
Membership Interest can be transferred to a Member in the Company
only upon the consent of a Majority. The rights of a Permitted
Transferee who is not admitted as a Member shall be limited to the
right to receive allocations and Distributions from the Company with
respect to the Membership Interest Transferred, as provided by this
Agreement. The transferee of such Membership Interest shall not be
a Member with respect to such Membership interest, and, without
limiting the foregoing, shall not have the right to inspect the
Company's books, act for or bind the Company, or otherwise interfere
in its operations.

(e) Effect of Permitted Transfer on Company. The Members intend
that the Permitted Transfer of a Membership Interest in the Company
Shall not cause the dissolution of the Company under the Act;
however, notwithstanding the occurrence of any such dissolution, the
Members shall continue to hold the Company's assets and operate its
business in Company form under this Agreement as if no such
dissolution had occurred.

11.5 Distribution Among Members. If a Permitted Transfer of a

Membership Interest occurs during any Fiscal Year, any Net Profits,
Net Loss, and all other items attributable to such Membership
Interest for such Fiscal Year shall be divided and allocated between
the transferor and the transferee by taking into account their

25
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 59 of 119

varying interests during the Fiscal Year in accordance with Section
706(d) of the Code, using any conventions permitted by law and
selected by the Company. All Distributions on or before the date of
a Permitted Transfer shall be made to the transferor, and all
Distributions thereafter shall be made to the transferee. Solely for
purposes of making such allocations and Distributions, the Company
Shall recognize a Permitted Transfer not later than the end of the
calendar month during which it is given notice stating the date such
Membership Interest was Transferred and such other information as
the Company may reasonably require. If a Transfer is not a Permitted
Transfer then all of such items shall be allocated, and all
Distributions shall be made, to the Person who, according to the
books and records of the Company, on the last day of the Fiscal Year
during which the Transfer occurs, was the owner of the Membership
Interest. The Members and the Company shall incur no liability for
making allocations and distributions in accordance with the
provisions of this Section and this Agreement, whether or not the
Members or the Company has any knowledge of any Transfer of
ownership of any interest in the Company.

11.6 Transfers Between Members. Except as specifically
provided, the restrictions of Article XI shall not apply to a
Transfer from one Member to another Member.

11.7 Transfer to Descendants of Members. The restrictions of
Article XI shall apply to a Transfer from a Member to his ox her
descendant, either during his or her life, or upon his or her death
by Will, either directly or in a Trust for the descendant's benefit.

11.8 Tag-Along/Drag-Along. If at any time any Member proposes

to sell fifty (50%) percent or more of the Membership Interests of
the Company to a bona fide purchaser in an arms~lLength transaction,
for fair value, such Member shall provide each other Member with not
less than twenty (20) days’ prior written notice of such proposed
sale, which notice shall include all of the terms and conditions of
such proposed sale and which shall identify the purchaser. In such
notice, the offering Member shall indicate whether he/it elects to
require each other Member to sell to the purchaser the same
percentage (the “Percentage”) of the Membership Interests then owned
by each such other Member as the percentage of the total number of
Membership Interests owned by such offering Member which are to he
sold pursuant to the bona fide purchaser and, if such offering
Member so elects, each such other Member Shall sell the same
Percentage of his/its Membership Interests to the purchaser at the
same time-as, and on the same terms and conditions at which, the
offering Member sells the Membership Interests owned by him/it.

If the offering Member shall not elect to require each other
Member to sell his/its Membership Interest pursuant to the preceding
paragraph, each other Member shall have the option, exercisable by
written notice to the offering Member within ten (10) days after the
receipt of the offering Member's notice, to require the offering

26
poe

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 60 of 119

Member to arrange for the bona fide purchaser to purchase the same
Percentage of the Membership Interests then owned by each such other
Member as well as the offering Member’s Interests at the same time
as, and upon the same terms and conditions at which, the offering
Member sells his/its shares. If any such other Member shall make
this election, the offering Member agrees that he/it shall either
(a) arrange for the proposed purchaser to purchase the same
Percentage of the Membership Interest then owned by each such other
Member at the same time as, and upon the same terms and conditions
at which, the offering Member sells hi/its Membership Interests, or
(b) not effect the proposed sale to such purchaser.

11.9 Purchase of Shares on Death of Member.

{a) Upon the death of a Member, the Member's Estate shall be
obligated to sell and the Company shall be obligated to purchase,
at the price determined under Section 11.9(d), the Membership
Interest of the deceased Member.

(b) The transfer of the deceased’s Member's Membership Interest
shall take place within 180 days following the appointment of the
Estate’s representative.

(c) The price determined hereunder shall be paid in twenty (20)
semi-annual installments, bearing interest at the then Applicable
Federal Rate.

(d) The purchase price of each percentage share of Membership
Interest which is purchased pursuant to any of the provisions of
this Agreement, except as otherwise hereinafter provided, shall be
the value per interest of such Membership Interest which is
determined by a mutually selected appraiser or, if the parties
cannot agree on an appraiser, by an appraiser selected by an
appraiser selected by each. If such appraisers cannot agree ona
third appraiser, then the price shall be determined by the American
Arbitration Association, under its commercial arbitration rules then
in effect in Nassau County.

ARTICLE XII
DISSOCIATION OF A MEMBER

12.1 Dissociation. A person shall cease to be a Member upon
the happening of any of the following events:

{a} the withdrawal or retirement of a Member;

{b) the bankruptcy of a Member;

(c) in the case of a Member who is a natural person, the
death of the Member or the entry of an order by a court of competent
jurisdiction adjudicating the Member incompetent to manage the
Member's personal estate;

27
Net

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 61 of 119

(d) in the case of a Member that is a trust or who is
acting as a Member by virtue of being a trustee of a trust, the
termination of the trust (but not merely the substitution of a new
trustee);

(e) in the case of a Member that is a separate Organization
other than a corporation, the dissolution and commencement of
winding up of the separate Organization;

(£) in the case of a Member that is a corporation, the
filing of a certificate of dissolution, or its equivalent, for the
corporation or the revocation of its charter; or

(g)in the case of a Member that is an estate, the
distribution by the fiduciary of the estate's entire interest in the
company.

12.2 Rights of Dissociating Member. In the event any Member
dissociates prior to the expiration of the term of this Agreement,
the Member shall be entitled to participate in the winding up of the
Company to the same extent of any other Member. The Company shall
pay to the Member, beginning six months from the date of such
Dissociation, an amount equal to the value of the Member's
Membership Interest in the Company, to be paid over a period not to
exceed five years together with interest at the Applicable Federal
Rate necessary to avoid the imputation of interest under the Code.
The payments shall be personally guaranteed by the remaining
members. The value of the Member's Membership Interest shall include
the amount of any Distributions to which the Member is entitled
under the Agreement and the fair market value of the Member's
Membership Interest as of the date of Dissociation as determined by
a duly qualified appraiser selected by a majority of the Members,
including the Dissociated member or his legal representative. If
said Members can not agree upon an appraiser, each Member shall
select an appraiser and those appraisers shall select the appraiser
who shall determine the fair market value of the Member's Membership
Interest.

ARTICLE XIII
DISSOLUTION AND WINDING UP

13.1 Dissolution. The Company shall be dissolved and its
affairs wound up, upon the first to occur of any of the following
events (each of which shall constitute a Dissolution Event):

{a) the expiration of the term of the Agreement, unless
the Company is continued with the consent of all of the Members;

(b) the unanimous written consent of all of the Members;

(c) the Dissociation of any Member, unless at the time

28
po

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 62 of 119

of such Dissociation there are at least two remaining Members and
the Company is continued with the consent of all of the remaining
Members within 180 days after such Dissociation;

(d) when there is but one Member.

13.2 Effect of Dissolution. Upon dissolution, the Company
shall not be terminated and shall continue until the winding up of
the affairs of the Company is completed and a certificate of
dissolution has been issued by the Secretary of State of New York.

13.3 Distribution of Assets on Dissolution. Upon the winding
up of the Company, the Members acting together or such Person(s)
designated by the Members representing at least a majority of the
Members' Sharing Ratios) shall take full account of the assets and
liabilities, of the Company, shall liquidate the assets (unless the
Members determine that a distribution of any Company Property in-
kind would be more advantageous to the Members than the sale
thereof) as promptly as is consistent with obtaining the fair value
thereof, and shall apply and distribute the proceeds therefrom in
the following order:

(a) first, to the payment of the debts and liabilities
of the Company to creditors, including Members who are creditors,
to the extent permitted by law, in satisfaction of such debts and
liabilities, and to the payment of necessary expenses of
liquidation;

(b} second, to the setting up of any reserves which the
Members may deem necessary or appropriate for any anticipated
obligations or contingencies of the Company arising out of or in
connection with the operation or business of the Company. Such
reserves may be paid over by the Members to an escrow agent or
trustee selected by the Members to be disbursed by such escrow agent
or trustee in payment of any of the aforementioned obligations or
contingencies and, if any balance remains at the expiration of such
period as the Members shall deem advisable, shall be distributed by
such escrow agent or trustee in the manner hereinafter provided; —

(c) then, to the Members in accordance with positive
Capital Account balances taking into account all Capital Account
adjustments for the Company's taxable year in which the liquidation
occurs. Liquidation proceeds shall be paid within 60 days of the end
of the Company's taxable year in which the liquidation occurs.
Such distributions shall be in cash or Property (which need not be
distributed proportionately) or partly in both, as determined by the
Members .

If at the time of liquidation the Members shall determine that
an immediate sale of some or all Company Property would cause undue
loss to the Members, the Members may, in order to avoid such loss;
defer liquidation.

29
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 63 of 119

oo™
: j 13.4 Winding Up and Filing Articles of Dissolution. Upon the

commencement of the winding up of the Company, articles of
dissolution shall be delivered by the Company to the Secretary of
State of New York for filing. The articles of dissolution shall set
forth the information required by the Act. The winding up of the
Company shall be completed when all debts, liabilities, and
obligations of the Company have been paid and discharged or
reasonably adequate provision therefor has been made, and all of the
remaining Property of the Company has been distributed to the
Members.

ARTICLE XIV
MISCELLANEOUS

14.1 Notices. Notices to the Company shall be sent to the
Principal Office of the Company. Notices to the Members shall be
sent to their addresses set forth on Schedule A. Any Member may
require notices to be sent to a different address by giving notice
to the other Members in accordance with this Section 14.1. Any
notice or other communication required or permitted hereunder shall
be in writing, and shall be deemed to have been given with receipt
confirmed if and when delivered personally, given by prepaid
telegram or mailed first class, postage prepaid, delivered by
courier, or sent by facsimile, to such Members at such address.

_ 14.2 Headings. All Article and section headings in the
( Agreement are for convenience of reference only and are not intended
‘ to qualify the meaning of any Article or section.

14.3 Entire Agreement. This Agreement together with the
schedules and appendices attached hereto constitutes the entire
agreement between the parties and supersedes any prior agreement or
understanding between them respecting the subject matter of this
Agreement.

14.4 Binding Agreement. The Agreement shall be binding upon,
and inure to the benefit of, the parties hereto, their successors,
heirs, legatees, devisees, assigns, legal representatives, executors
and administrators, except as otherwise provided herein.

14.5 Saving Clause. If any provision of this Agreement, or the
application of such provision to any Person or circumstance, shall
be held invalid, the remainder of this Agreement, or the application
of such provision to Persons or circumstances other than those as
to which it is held invalid, shall not be affected thereby. If the
operation of any provision of this Agreement would contravene the
provisions of the Act, such provision shall be void and ineffectual.

14.6 Counterparts. The Agreement may be executed in several
counterparts, and all so executed shall constitute one agreement,
binding on all the parties hereto, even though all parties are not
signatory to the original or the same counterpart. Any counterpart

30
sot

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 64 of 119

of either the Agreement shall for all purposes be deemed a fully
executed instrument.

14.7 Governing Law. The Agreement shall be governed by and
construed in accordance with the laws of the State of New York.

14.B No Membership Intended for Nontax Purposes. The Members
have formed the Company under the Act, and expressly do not intend
hereby to form a partnership, either general or limited, under the
New York Partnership Act. The Members do not intend to be partners
one to another, or partners as to any third party. To the extent any
Member, by word or action, represents to another person that any
Member is a partner or that the Company is a partnership, the Member
making such wrongful representation shall be liable to any other
Members who incur personal liability by reason of such wrongful
representation.

14.9 No Rights of Creditors and Third Parties under Agreement.
The Agreement is entered into among the Company and the Members for
the exclusive benefit of the Company, its Members, and their
Successors and assignees. The Agreement is expressly not intended
for the benefit of any creditor of the Company or any other person.
Except and only to the extant provided by applicable statute, no
such creditor or any third party shall have any rights under the
Agreement or any agreement between the Company and any Member with
respect to any Capital Contribution or otherwise.

14.10 General Interpretive Principles. For purposes of this
Agreement, except as otherwise expressly provided or unless the
context otherwise requires:

(a) the terms defined in this Agreement include the
plural as well as the singular, and the use of any gender herein
shall be deemed to include the other gender;

(b) accounting terms not otherwise defined herein have
the meanings given to them in the United States in accordance with

‘generally accepted accounting principles;

{(c) references herein to "Sections", "paragraphs", and
other subdivisions without reference to a document are to designated
Sections, paragraphs and other subdivisions of this

31
Nae

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 65 of 119

agreement;

(d) a reference to a paragraph without further reference
to a Section is a reference to such Paragraph as contained in the
Same Section in which the reference appears, and this rule shall
also apply to other subdivisions;

(e) the words "herein", "hereof, "hereunder" and other
words of similar import refer to this Agreement as a whole and not
to any particular provision; and

(f) the term "include" or "including" shall mean without
limitation by reason of enumeration.

IN WITNESS WHEREOF, the parties hereto have hereunto set
their hands and seals as of the Effective Date.

COOPER SQUARE VENTURES, LLC NDA HOLDING LLC
By: BRWY LLC, i

   

 

eo

 

By: <A
Michael Bardashtian, Managing Member

 

AS TO PARAGRAPH 6.5 ONLY:

 

 

_

ee.
AfichaeY Dardashtian

TAX MATTER PARTN
By: \ |
VV

\\Sercverl \documents\00008674.000.WPD

32
See

Case 1:17-cv-04327-LLS-RWL Document 180-30

SCHEDULE A

Deseription of Value
Of Initial Capital
Contribution

Name and Address
of Member

 

Cooper Square Ventures, LLC 4900

NDA Holding LLC
S51 units/51.0%

\\Serverl \documents\00008674.000.WPD

Filed 08/14/20 Page 66 of 119

No. Of Units .
Membership Interest

and Sharing Ratio

49 units/49.03%
5100
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 67 of 119

EXHIBIT B-
Se?

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 68 of 119

N. ¥. S. DEPARTMENT OF STATE
DIVISION OF CORPORATIONS AND STATE RECORDS ALBANY, NY 12231-0001

FILING RECEIPT

ENTITY NAME: NDAP, LLC
DOCUMENT TYPE: ARTICLES oF ORGANIZATION (DOM LLC) COUNTY: NASS

BLUMBERGEXCELSIOR CORPORATE 08/24/2011
SERVICES INC.

52 SOUTH PEARL STREET 2ND FL.

ALBANY, NY 12207

ADDRESS FOR PROCESS:

THE LLC
106-16 JAMAICA AVE
RICHMOND HILL, NY 11418

REGISTERED AGENT:

   

 

FEES 235.00 PAYMENTS 235.00
FILING 200.00 CASH 0.00
TAX 0.00 CHECK 0.00
CERT 0.00 CHARGE 0.00
COPIES 106.00 DRAWDOWN 235.00
HANDLING 25.00 OPAL 0.00

REFUND 0.00

sieese DOS-1025 (04/2007)
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 69 of 119

ARTICLES OF ORGANIZATION

OF
NDAP, LLC
Under Section 203 of the Limited Liability Company Law of the State of New York

THE UNDERSIGNED, being a natural person of at least eighteen (18) years of age and
acting as the organizer of the limited liability company (the "Company") hereby being formed
under Section 203 of the Limited Liability Company Law of the State of New York (the "LLCL"),

certifies that:

FIRST: The name of the Company is:
NDAP, LLC

SECOND: The county within the State of New York in which the principal office of the
Company is to be located is NASSAU,

THIRD: The Secretary of State is designated as the agent of the Company upon
whom process against the Company may be served. The post office address within or without
the State of New York to which the Secretary of State shall mail a copy of any process against
the Company served upon such Secretary of State is THE LLC, 106-16 JAMAICA AVE,,

RICHMOND HILL, NY 11418.

IN WITNESS WHEREOEF, I have subscribed these Articles of Organization and do hereby affirm
the foregoing as true under penalties of perjury, this 08/24/11

Sharon Babala

Sole Organizer
c/o BlumbergExcelsior Corporate Services

52 South Pearl Street, 2°4 Floor
Albany, NY 12207
yon
f

———
?

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 70 of 119

ARTICLES OF ORGANIZATION
OF

NDAP, LLC

Under Section 203 of the Limited Liability Company Law of the State of New York

BLU-39
DRAWDOWN

FILED BY:

BLUMBERGEXCELSIOR CORPORATE SERVICES INC.
52 SOUTH PEARL STREET, 28° FLR
ALBANY, NY 12207
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 71 of 119

 

Exhibits &
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 72 of 119

INTERNAL REVENUE SERVICE

of. £7) [RS DEPARTMENT OF THE TREASURY
j }

+

CINCINNATI OH 45999-0023
Date of this notice: 08-25-2011

Employer Identification Number:
sit 597

 

Form: SS-4

Number of this notice: CP 5752

NDAP

MICHAEL DARDASHTIAN MBR

10616 JAMAICA AVE For assistance you may call us at:
RICHMOND HILL, NY 11418 1-800-829-4933

IF YOU WRITE, ATTACH THE
STUB AT THE END OF THIS NOTICE.

WE ASSIGNED YOU AN EMPLOYER IDENTIFICATION NUMBER

Thank you for applying for an Employer Identification Number (EIN). We assigned you
BIN XX-XXXXXXX. This EIN will identify you, your business accounts, tax retums, and
documents, even if you have no employees. Please keep this notice in your permanent
records.

When filing tax documents, payments, and related correspondence, it is very important
that you use your EIN and complete name and address exactly as shown above. Any variation
may Cause a delay in processing, result in incorrect information in your account, or even
cause you to be assigned more than one EIN. If the information is not correct as shown
above, please make the correction using the attached tear off stub and return it to us.

Based on the information received from you or your representative, you must file
the following form(s) by the date(s) shown.

Form 941 01/31/2012
Form 940 01/31/2012
Form 1065 04/15/2012

If you have questions about the form(s) or the due date(s) shown, you can call us at
the phone number or write to us at the address shown at the top of this notice. If you
need help in determining your annual accounting period (tax year), see Publication 538,
Accounting Periods and Methods.

We assigned you a tax classification based on information obtained from you or your
representative. It is not a legal determination of your tax classification, and is not
binding on the IRS. If you want a legal determination of your tax classification, you may
request a private letter ruling from the IRS under the guidelines in Revenue Procedure
2004-1, 2004-1 I.R.B. 1 (or superseding Revenue Procedure for the year at issue). Note:
Certain tax classification elections can be requested by filing Form 8832, Entity
Classification Election. See Form 8832 and its instructions for additional information.

A limited liability company (LLC) may file Form 8832, Entity Classification
Election, and elect to be classified as an association taxable as a corporation. If
the LLC is eligible to be treated as a corporation that meets certain tests and it
will be electing S corporation status, it must timely file Form 2553, Election by a
Small Business Corporation. The LLC will be treated as a corporation as of the
effective date of the S corporation election and does not need to file Form 8832.

 
oo,

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 73 of 119

(IRS USE ONLY) 575A 08-25-2011 NDAP B 9999999999 SS-4

If you are required to deposit for employment taxes (Forms 941, 943, 940, 944, 945,
CT-1, or 1042), excise taxes (Form 720), or income taxes (Form 1120), you will receive a
Welcome Package shortly, which includes instructions for making your deposits
electronically through the Electronic Federal Tax Payment System (EFTPS). A Personal
Identification Number (PIN) for EFTPS will also be sent to you under separate cover.
Please activate the PIN once you receive it, even if you have requested the services of a
tax professional or representative. For more information about EFTPS, refer to
Publication 966, Electronic Choices to Pay All Your Federal Taxes. If you need to
make a deposit immediately, you will need to make arrangements with your Financial
Institution to complete a wire transfer.

The IRS is committed to helping all taxpayers comply with their tax filing
obligations. If you need help completing your returns or meeting your tax obligations,
Authorized e-file Providers, such as Reporting Agents (payroll service providers) are
available to assist you. Visit the IRS Web site at www.irs.gov for a list of companies
that offer IRS e-file for business products and services. The list provides addresses,
telephone numbers, and links to their Web sites.

To obtain tax forms and publications, including those referenced in this notice,

visit our Web site at www.irs.gov. If you do not have access to the Internet, call
1-800-829-3676 (TTY/TDD 1-800-829-4059) or visit your local IRS office.

IMPORTANT REMINDERS:

* Keep a copy of this notice in your permanent records. This notice is issued only
one time and the IRS will not be able to generate a duplicate copy for you.

* Use this EIN and your name exactly as they appear at the top of this notice on all
your federal tax forms.

* Refer to this EIN on your tax-related correspondence and documents.
If you have questions about your EIN, you can call us at the phone number or write to
us at the address shown at the top of this notice. If you write, please tear off the stub

at the bottom of this notice and send it along with your letter. If you do not need to
write us, do not complete and return the stub. Thank you for your cooperation.

Keep this part for your records. CP 575 A (Rev. 7-2007)

Return this part with any correspondence
so we may identify your account. Please CP 575 A

correct any errors in your name or address.
9999999999

Your Telephone Number Best Time to Call DATE OF THIS NOTICE: 08-25-2011

 

 

( ) ~ EMPLOYER IDENTIFICATION NUMBER:
FORM: SS-4 NOBOD
INTERNAL REVENUE SERVICE NDAP
CINCINNATI OH 45999-0023 MICHAEL DARDASHTIAN MBR

DebasDaLaDaUatardsToadsfoatLscaldassaelsteed/alitul 10616 JAMAICA AVE
RICHMOND HILL, NY 11418

 
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 74 of 119

EXHIBIT B
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page OO tort

Oct-14-2011 07:57 AM BANK OF AMERICA - Greatreck 516-298-3116 47156

oo, BankofAmerica = ASo DAY sp

BANK OF AM : * .
5 MERICA, NA. (THE "BANK") Limited Liability Company Signature Card

Account Number 48303825 7345
Account Type BUSINESS ECONOMY CHECKING
t Account Title COOPER SQUARE VENTURES, LLC

 
 
 
  
 
  
  
 
   
     
         
  
  
  
  
   

 

Temporary Siguature Card

 

 

 

 

 

 

 

. Name ofCompany COOPER SQUARE VENTURES, LLC
Tax Identification Number

 

 
 

 

Fora Limited liability Company enter the tax clessification (D = disregarded entity, C= corporation, or Ps partnership)

on this line, : “
CJ Excmpt payee

amended from time to time: (1) the Deposit Agreement and Disclosures; (
3 the Association furtheracknowledes the réecipt of these decuments,
Substitute Form W-9, Certification-Under penallles of perjury, Leertify that: (1) The number shown on this fo
I am waiting for anumber to be Issued to me), and (2) Lam not subject to backup withholding because: (A) J npt fre
not been notified ‘by the-Internal Revenue Service.(IRS) that I am subject ta backup withholding as a-result of a:failure-to.

(C) The IRS has notified Tic that fom no Jonger subject ty buckup withholding, arid @) i ams U.S, citizen of other US. person (as
Certification Instructions . oO ae
You must cross out itent (2) above if you have been notified by the IRS that you are currently subject to backup wiitholding because of underry,
dividends on your tax fetum. (Soe also IRS instructions for Form W:9), a , .

 

The Internal Reventie Service docs not require your consent to any
provision of this document other than the cerilficatlons.required {0 avold .:«
buckug withholding. oe
Name (typed or printed) a BIE
1. MICHAEL DARDASTIAN ae,

 

 

 

 

 
 

 

won

 

 

o

 

 

 

Y

1, the undersigned, hereby certify (1) that Tam a-duly authorized tmomber/manag i
persons currently empowered. toact under the Cormpany. resolutions. authorizin
Specimen signature sct-forth opposite the fame of cach person is truc and-genuin

ro ber Wi)

   
    
  
   
 

     
     
   
   

   

  

 
  
  

   

  

and/or Check. Cards; (as'au
 puganeenioar cre retina mae Nerney
fofilic autfiorized igers onthise

 

O38

  
 
   

 
  
     
  
  
 
 
 
 
 
 
 
   

    

rea

 

  

ate sts een ees
ee
Se

 

    

  

 

  
   

  

   
  
   

   
   

    
 
 
 
  

 

Sas
: ing CoaterNa :
Banking eaten ime

WA ssociate'sINamonca,

     
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 76 of 119

EXHIBIT C
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 77 of 119

ChannelReply is a Software as a Service solution created to facilitate the messaging of eBay and Amazon
store owners communications with their customers.

Worldwide retailers pay a monthly subscription fee to ChannelReply in order to connect their eBay and Amazon
store messages with a customer service software solution. Once connected ChannelReply's APi passes
messages from customers contacting store owners via eBay and Amazon accounts to large customer service
management software solutions. This allows for free flowing communication between store owners and

customers.

By depleting the bank account, which operates ChannelReply, David Gitman has put our company at risk of
operating. If auto debits continue to bounce, the servers that run ChannelReply will be turned off.
ChannelReply's API will no longer function and ChannelReply's customers will no longer be able to
communicate with their own customers reaching out to them via eBay and Amazon.

The more than two hundred companies we service process thousands of customer service messages daily
through ChannelReply's servers.
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 78 of 119

EXHIBIT D
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 79 of 119

EXNiDit DU ~ Saasbullaers.png Page 1 of 1
62017 ndap Mail - SaaS Builders | AngelList
oo eke
. Mv et [ Mike Dash <mdash@ndap-llc.com>
bye:

 

SaaS Builders | AngelList
David Gitman <dgitman@ndap-lic.com> Mon, Oct 19, 2015 al 4:34 PM
To: Michael Dash <mdash@ndap-lic.com>

Here's what | sent him.

Cooper Square Ventures creates, operates and acquires eCommerce websites. Our current portfolio of properties was
(re)built using modem technologies to bring antiquated merchandising online.

t

In the past 5 years, our eCommerce platform has evolved from serving omni-channel consumers (B2C) to serving multi-
channel consumers (B2C) and businesses (828). During this organic transformaticn, we built a suite of Internal toals to
enhance eCommerce Product Information Management, Customer Relationship Management, Pricing Strategies and
more. We realized these tools were not only valuable to us, but to other eCommerce merchants.

We are therefore now pivoting into SaaS eCommerce (pronounced / sassy-commerce) to transform our internal e-
commerce tools into a platform to drive success for any eCommerce merchant. (not sure this is worded right?)

The first product we've launched Is ChanneiReply, It's a multi-channel eCommerce messaging solution, It connects help
desks with marketplaces. For example, eBay and Amazon sellers can perform their customer service with the power of

: ZenDesk.

We are actively developing new features, adding help desks and supporting additional marketplaces with ChannelReply.
We're now also planning to release additional eCommerce tools.

, David Gitman
a ndap
Le Tel: (646) 553-5917
dgitman@ndap-lic.com | hitp://www.ndap-lic.com

Ca) ES Ba

Paine

https://drive.google.com/drive/folders/OB6P91Jw4Xfl9dU 1 YUHZQNVIrYVE 6/7/2017
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 80 of 119

   

once

Exhibit 6
 

C,
Lo

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 81 of 119

COOPER SQUARE VENTURES, LLC

 

ChannelReply Beta Test Agreement

This Beta Test Agreement (“Agreemen ”) governs the disclosure of information by Cooper Square
Ventures, LLC. (“Company”) to "3% B vic (the “Recipient”) and Recipient’s
use of Company’s beta service offering for ChannelReply (“Service”).

1. Subject to the terms and conditions of this Agreement, Company grants Recipient a
nonexclusive, nontransferable license to use the Company Service for a period
designated by the Company for the purpose of testing and evaluating the Service.

2. Beta Functionality Performance - This offering is new. As a beta subscriber you may
experience some issues with performance or functionality. ChannelReply will make its
best efforts to resolve these issues in a timely manner. However, there is no guarantee
that all issues will be resolved, nor does the typical performance SLA for the
ChannelReply platform apply to this functionality. Please note, there will be no
financial credits (or other compensation) issued should this beta not meet your
expectations in terms of performance, functionality or otherwise.

3. Feedback - You agree to provide regular, timely and confidential feedback on the
performance of the beta feature to ChannelReply, at Company’s request, so that
ChannelReply can make further improvements to the software.

4. Confidentiality - You agree to keep any information regarding the Beta functionality and
your participation in the beta confidential (please see confidentiality clause in terms and
conditions).

5. Support - Support for this feature will be available through ChannelReply's typical support

channels (support@ChannelReply.com) while the offering is in beta.

6. ' Post-beta Publicity - If you wish to continue using the functionality upon completion of the
beta period, you agree to participate in a case study and/or survey and provide a quote
for a press release.

7. Fee/Billing — A non-refundable initial install fee shall be billed to you prior to installation in
the amount of $500. Pricing for eBay ChannelReply support shall be $99 per month,
billed on the first day of each month. Pricing for Amazon ChannelReply support shall
be an additional $99 per month, billed on the first day of each month. Pricing for
combined eBay and Amazon ChannelReply support shall be $149 per month, billed on
the first day of each month. If payment is not received by the 7" day of the month,
service shall be suspended. These prices are subject to change at the Company’s sole
discretion at any time. Recipient shall be granted at least two weeks advanced notice.

 

1010 Northem Blvd, Ste 208 @ Great Neck, 11021 @ (646) 553-5920 © info@coopersquare.ventures

 

 

 
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 82 of 119

COOPER SQUARE VENTURES, LLC

 

 

Participation - You agree that you are able and.willing to dedicate the time necessary to
cooperate with us so that we may maximize the beta functionality. This may at times
require Recipient to grant Company complete access to one or more of Recipient’s
accounts, including but not limited to eBay, Amazon, ZenDesk and any other account
used in conjunction with ChannelReply for the purpose of Company performing
configuration, maintenance and troubleshooting.

Time Frame: The Company’s Service shall be provided on a month-to-month basis. Should
the subscriber seek to cancel or suspend service for any reason, a notice must be sent
to Support@ChannelReply.com 30 days in advance or Recipient will be billed for the
following month. The Company reserves the right to cancel or suspend Recipient’s use
and access to Service at any time for any reason with or without cause.

ADDITIONAL TERMS AND CONDITIONS

(INCORPORATED HEREIN AS PART & PARCEL OF THIS AGREEMENT)

11.

12.

oF

10.

The Recipient agrees that it at all times will hold in strict confidence and not disclose
Confidential Information (as defined below) to any third party except as approved in
writing by the Company and will use the Confidential Information for no purpose other
than evaluating the Service. The Recipient shall only permit access to Confidential
Information to those of its employees having a need to know and who have signed
confidentiality agreements or are otherwise bound by confidentiality obligations at least
as restrictive as those contained herein. “Confidential Information” means all non-public
materials and information provided or made available by Company to Recipient,
including products and services, information regarding technology, know-how,
processes, software programs, research, development, financial information and
information regarding third parties. ,

After Recipient’s evaluation of the Service is complete, or upon request of the Company,
the Recipient shall promptly return to the Company all documents, notes and other
tangible materials and return or certify the destruction of all electronic documents,
notes, software, data, and other materials in electronic form representing the
Confidential Information and all copies thereof.

The Recipient agrees that nothing contained in this Agreement shall be construed as
granting any ownership rights to any Confidential Information disclosed pursuant to this
Agreement, or to any invention or any patent, copyright, trademark, or other intellectual
property right. The Recipient shall not make, have made, use or sell for any purpose
any product or other item using, incorporating or derived from any Confidential
Information or the Service. The Recipient will not modify, reverse engineer, decompile,
create other works from, or disassemble any software programs contained in the
Confidential Information or the Service.

 

1010 Northern Bivd, Ste 208 ® Great Neck, 11021 © (646) 553-5920 © info@coopersquare.ventures

 
 

Ne?

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 83 of 119

COOPER SQUARE VENTURES, LLC

 

13.

14.

15.

This Service is a beta release offering and is not at the level of performance of a
commercially available product offering. The Service may not operate correctly and
may be substantially modified prior to first commercial release, or at Company’s option
may not be released commercially in the future. THE SERVICE AND
DOCUMENTATION ARE PROVIDED “AS IS” WITHOUT WARRANTY OF
ANY KIND, AND COMPANY AND ITS LICENSORS DISCLAIM ALL
WARRANTIES, EXPRESS, IMPLIED, OR STATUTORY, INCLUDING
WITHOUT LIMITATION ANY IMPLIED WARRANTIES OF TITLE,
NON-INFRINGEMENT OF THIRD PARTY RIGHTS, MERCHANTABILITY, OR
FITNESS FOR A PARTICULAR PURPOSE. NO ORAL OR WRITTEN ADVICE
OR CONSULTATION GIVEN BY COMPANY, ITS AGENTS OR EMPLOYEES
WILL IN ANY WAY GIVE RISE TO A WARRANTY. THE ENTIRE RISK
ARISING OUT OF THE USE OR PERFORMANCE OF THE SERVICE
REMAINS WITH RECIPIENT.

COMPANY AND ITS LICENSORS SHALL NOT BE LIABLE FOR LOSS OF USE,
LOST PROFIT, COST OF COVER, LOSS OF DATA, BUSINESS
INTERRUPTION, OR ANY INDIRECT, INCIDENTAL, CONSEQUENTIAL,
PUNITIVE, SPECIAL, OR EXEMPLARY DAMAGES ARISING OUT OF OR
RELATED TO THE SERVICE OR THIS AGREEMENT, HOWEVER CAUSED
AND REGARDLESS OF THE FORM OF ACTION, WHETHER IN CONTRACT,
TORT (INCLUDING NEGLIGENCE) STRICT LIABILITY, OR OTHERWISE,
EVEN IF SUCH PARTIES HAVE BEEN ADVISED OF THE POSSIBILITY OF
SUCH DAMAGES. IN NO EVENT WILL COMPANY’S AGGREGATE
CUMULATIVE LIABILITY FOR ANY CLAIMS ARISING OUT OF OR
RELATED TO THIS AGREEMENT EXCEED $50.00 OR THE AMOUNT
RECIPIENT ACTUALLY PAID COMPANY UNDER THIS AGREEMENT (IE.

ANY).

The Recipient’s obligations under this Agreement shall survive any termination of this
agreement. This Agreement shall be governed by and construed in accordance with the
laws of New York. The Recipient hereby agrees that breach of this Agreement will
cause Company irreparable damage for which recovery of damages would be
inadequate, and that the Company shall therefore be entitled to obtain timely injunctive
relief under this Agreement, as well as such further relief as may be granted by a court
of competent jurisdiction. The Recipient will not assign or transfer any rights or
obligations under this Agreement without the prior written consent of the Company.

 

1010 Northern Bivd, Ste 208 © Great Neck, 11021 ® (646) 553-5920 © info@coopersquare.ventures

 
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 84 of 119

COOPER SQUARE VENTURES, LLC

 

 

 

 

 

 

 

e
‘ Agreed to and Accepted on and by:
Signature: Date: tre
Name: 3 Title: Cowuner
}
)

 

 

1010 Norther Blvd, Ste 208 © Great Neck, 11021 @ (646) 553-5920 © info@coopersquare.ventures

 

 
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 85 of 119
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 86 of 119

   

exhibit? &
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 87 of 119

5/29/2017 ndap Mail - Tactical Fallout just paid for your invoice CR-1000703

Mike Dash <mdash@ndap-lic.com>

 

 

 

 

 

 

 
 
   

 

 

 

 

ff a
{ 1 byGoogl
Tactical Fallout just paid for your invoice CR-1000703
‘service@paypal.com' via Partners <pariners@ndap-lic.com> Thu, Sep 4, 2014 at 2:57 PM
Reply-To: "service@paypal.com" <service@paypal.com>
To: "Cooper Square Ventures, LLC" <paypal@coopersquareventures.com>
PayPal
Transaction ID: 2GH26806A69238132
You received a payment
Dear Cooper Square Ventures, LLC,
Thanks for using PayPal. To see all the transaction details, log in to your PayPal account.
} See your invoice
It may take a few moments for this transaction to appear in your account.
Na Note from customer
None
ress - confirmed
5 c
"United States
Description Unit price Qty Amount
Channel Reply Install $500.00 1 $500.00
Subtotal $500.00
Shipping and handling $0.00
Total $500.00 USD
j Invoice ID CR-1000703
Sincerely,
PayPal
QU

Help Center | Resolution Center | Security Center

https://mail google.cam/mail/u/1/2ui=2&ik=cc55727e 1 c&view=pi&msg=1484207398e3798 | &q=tactical %20fallouté&qs=truc&scarch=query 1/2
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 88 of 119

5/29/2017 ndap Mail - Tactical Fallout just paid for your invoice CR-1000703

This email was sent by an automated system, so if you reply, nobody will see it. To get in touch with
us, log in to your account and click "Contact Us" at the bottom of any page.

{ ™ Copyright © 2014 PayPal, Inc. All rights reserved, PayPal is located at 2211 N. First St., San Jose,

' CA 95131,

PayPal Email [1D PP1560 - ac9c8f3a9b581

https://mail.google.com/mail/u/ 1/2ui=2&ik=cc55727¢1 c&view=pt&mse=1484207398e3798 | &q=tactical %20fallou&qs=true&scarch=query

22
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 89 of 119

EXHIBIT B
ro

eet

Pe ; ian
~, i iG

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 90 of 119

6/5/2017 ndap Mail - Welcoming Konstantyn Bagaiev

Mike Dash <mdash@ndap-llc.com>

 

} byGoogle

 

Welcoming Konstantyn Bagaiev

David Gitman <david@coopersquare.ventures> Tue, Oct 21, 2014 at 9:53 AM
To: "team@ndap-lic.com" <team@ndap-lic.com>

Good Morning,

I'd like to welcome Konstantyn Bagaiev to the team full time. Some of you may know Konstantyn already as "Agent K". He
has been working with us for 2 years on ChannelReply (Zendesk eBay intergration). K will continue to develop
ChannelReply and help us grow and optimize our catalogs.

Please join me in welcoming Konstantyn to the ndap t.
David Gitman
Cooper Square Ventures

Tel: (646) 553-5917
david@coopersquare.ventures | http://coopersquare.ventures

foAs

hups://mail.google.com/mail/éw I/2ui=2&ik=ec55727¢} c&view=pt&msg=14932fbdfdbb0 | Sd&q=konstantyn&qs=trucé&search=query&siml=14932{bdfdbb0 15d

ifl
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 91 of 119

EXHIBIT C
oo,

*s
*

1 eGoagle’

hups://mail .google.com/mail/w 1/2ui=2&ik=ce55727c1 c&view=pt&msg=149af4cc7 10166 19&q=konstantyn&qs=true&search=query &siml=!49af4cc7 1016619

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 92 of 119

6/5/2017 ndap Mail - Payee Added in Online Business Suite

  

eR”
| f Mike Dash <mdash@ndap-lic.com>

Cys

 

Payee Added in Online Business Suite

 

transfers@mail.sbinvoicesandpayments.bankofamerica.com Fri, Nov 14, 2014 at
<transfers@mail.sbinvoicesandpayments.bankofamerica.com> 12:14 PM
To: partners@ndap-lic.com

To: NDAP, LLC

Payee: Konstantyn Bagaiev
Date Added: November 14, 2014

This payee has been added to your list of payees in Online Business Suite Direct Payments.
At Bank of America we care about your security, so for your protection we are notifying you of this activity.

If you did not intend to add this payee, please contact us immediately at 866.758.5972.

 

Email Preferences

This is a service email from Bank of America. Please note that you may receive service email in accordance with your
Bank of America service agreements, whether or not you elect fo receive promotional email.

 

 

Contact us about this email

Please do not reply to this email with sensitive information, such as an account number, PIN, password, or Online ID. The
security and confidentiality of your personal information is important to us. If you have any questions, please either call the
phone number on your account statement or go to the Contact Us page below, so we can properly verify your identity:
http://www.bankofamerica.com/contact/

Privacy and Security

Keeping your financial information secure is one of our most important responsibilities, For an explanation of how we
manage customer information, please read our Privacy Policy:
http://www. bankofamerica.com/privacy

You can also learn how Bank of America keeps your personal information secure and how you can help protect yourself:
http://www. bankofamerica.com/privacy/index.cfm?template=privacysecur_prevent_fraud

Bank of America Email, 8th Floor, 101 South Tryon St.,
Charlotte, NC 28255-0001

Bank of America, N.A. Member FDIC. Equal Housing Lender:
http:/Awww.bankofamerica.com/help/equalhousing.cfm

(C) 2014 Bank of America Corporation. All rights reserved.

This e-mail was sent to: (partners@ndap-llc.com).

Vt
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 93 of 119

EXHIBIT D
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 94 of 119

NDAP, LLC
1010 Northern Blvd, Suite 208
Great Neck, NY 11021
USA ~

Dated as of January 1°, 2016
Dear Mr. Bagaev:

When-signed ‘by. each of the parties hereto, this letter sets forth the entire agreement
between NDAP,. LLC., a New York Limited Li bility Company (the "Company") and
Konstantyn Bagaev Registration Number: : 436 (the "Contractor"), with
respect to the engagement of Contractor as an independent contractor by the Company on |
the following terms and conditions:

~ 1. Acknowledgment. Contractor understands and acknowledges that:

(a) The Company is engaged in a continuous program of research,
design, development, production, publishing, marketing and servicing with respect to its
business and as part of Contractor's engagement by the Company, Contractor is (or may
be) expected to make new contributions and inventions of value to the Company.

(b) The Company's engagement of Contractor creates a
relationship of confidence and trust between Contractor and the Company with respect to
certain information applicable to the business of the Company or the business of any
client, customer, or business partner of the Company, which may be made known to
Contractor by the Company or by any client, customer, or business partner of the
Company, or learned by Contractor during the period of Contractor's engagement.

(c) The Company possesses and will continue to possess
information that has been created, discovered or developed by, or otherwise become
known to, the Company (including, without limitation, information created, discovered,
developed or made known by Contractor during the period of or arising out of
Contractor's engagement by the Company, whether before or after the date hereof) or in
which property rights have been or may be assigned or otherwise conveyed to the
Company, which information has commercial value in the business in which the
Company is engaged and is treated by the Company as confidential.

(d) As used herein, the period of Contractor's engagement includes
any time during which Contractor shall perform any services for or on behalf of the
Company, in any capacity, including as an employee.

2. Engagement. All work performed by Contractor shall be documented
in a Work Order signed by authorized representatives of both parties and affixed hereto
as Exhibit A. Each Work Order shall set forth, at a minimum, the work to be done, the
duration of the assignment, and the fees for the work to bé performed.
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 95 of 119

3. Commitment_to Company. During the period of Contractor's
engagement by the Company, Contractor will devote that portion of Contractor's business
time, energy and attention to the business and affairs of the Company subject to the Work
Order included as Attachment A herein.

4. Term of Engagement. As per Work Order included as Attachment A.
Termination of this Agreement shall not affect the obligations of Contractor under
Sections-5(d), 6; 7 and 8 hereof. Notwithstanding the terms of the Work Order, Company
reserves the right to terminate its engagement of Contractor at any time for any reason,
including but not limited to, if Company finds Contractor's work to be unsatisfactory or
if there is a breakdown in communication between Company and Contractor . In the
event that Company exercises its right to terminate Contractor at will, Company shall
only be responsible for compensating Contractor for the fair market value of work
already performed and shall have no obligation to compensate Contractor for future
works not yet performed, whether such works are anticipated by a signed Work Order or
not. Notwithstanding the foregoing, Contractor shall have no right to terminate
premature of completing a signed Work Order. Any such refusal to complete work ona
signed Work Order will be deemed a breach of this agreement and result in harm to the
Company, entitling the Company to seek damages and injunctive or other equitable relief
as described in Section 10, Remedies, below.

§. Declaration.

(a) Contractor acknowledges and agrees that Contractor is acting
as an independent contractor in the performance of the services hereunder, and nothing
herein contained shall be deemed to create an agency and/or an employer/employee
relationship between Contractor and the Company. As an independent contractor,
Contractor shall determine the times and locations at which his services are performed,
subject to the timetable for the completion of specified tasks as the Company and
Contractor shall agree. Contractor shall bear all costs associated with the performance of
his services (with the exception of travel costs associated with work with NDAP, LLC, so
long as such travel costs are pre-approved by an authorized representative of NDAP,
LLC).

(b) Contractor shall in no event be entitled to participate in, or
receive any benefits from, any of the Company's benefit or welfare plans, specifically
including, but not limited to, coverage under the Company's workers’ compensation
program. The Company shall have no obligation whatsoever to compensate Contractor
on account of any damages or injuries which Contractor may sustain as a result or in the
course of performance of Contractor's services hereunder.

(c) Contractor shall be solely responsible for the payment of all
Federal and State income taxes, social security taxes, Federal and State unemployment
and similar taxes and all other assessments, taxes, contributions or sums payable, with the
exception of applicable sales tax, with respect to Contractor as a result of or in connection
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 96 of 119

with the services performed by Contractor hereunder and Contractor shall file all returns
and reports with respect to any of the foregoing.

(d) Contractor shall defend, indemnify and hold harmless the
Company and its affiliates and their officers, directors, employees, agents, successors and
permitted assigns from and against all losses, damages, liabilities, deficiencies, actions,
judgments, interest, awards, penalties, fines, costs or expenses of whatever kind
(including reasonable attorneys’ fees) arising out of or resulting from (a) bodily injury,
death of any person or damage to real or tangible, personal property resulting from
Contractor’s acts or omissions; and (b) Contractor’s breach of any representation,
warranty or obligation under this Agreement. The Company may satisfy such indemnity
(in whole or in part) by way of deduction from any payment due to Contractor. The
provisions of this paragraph shall survive the expiration or earlier termination of this
agreement

6. Works Made for Hire. Contractor acknowledges that all right, title and
interest in all works of authorship, designs, computer programs, copyrights and copyright
applications, inventions, discoveries, developments, original content production or
programming, know-how, systems, processes, formulae, patent and patent applications,
trade secrets, new products, internal reports and memoranda, strategies, and marketing
plans conceived, devised, developed, written, reduced to practice, or otherwise created or
obtained by Contractor in connection with Contractor's engagement by the Company (the
"Intellectual Property") shall be regarded as “works made for hire” with Company as the
sole author and owner thereof including, without limitation, as works specially ordered or
commissioned for use as part of an audiovisual work. Company will own all right, title
and interest in the Intellectual Property with the full and unrestricted right to exploit same
in any manner or media now known or hereafter devised and without any additional
compensation to Contractor. To the extent that any such Intellectual Property is for any
reason not deemed to be works made for hire, Contractor hereby transfers and assigns to
the Company all right, title and interest in and to the Intellectual Property from the

- inception of creation thereof. Promptly after Contractor creates or obtains knowledge of -

any Intellectual Property, Contractor will disclose it to the Company. Upon request of
the Company, Contractor will execute and deliver all documents or instruments and take
all other action as the Company may deem reasonably necessary to transfer all right, title,
and interest in any Intellectual Property to the Company; to vest in the Company good,
valid and marketable title to such Intellectual Property; to perfect, by registration or
otherwise, trademark, copyright and patent protection of the Company with respect to
such Intellectual--Property; and otherwise to protect the Company's trade secrets and
proprietary interest in such Intellectual Property. In the event Contractor does not sign
any such document or instrument within five (5) days of a request thereof, Company shall
have the right to execute such document or instrument in Contractor's name and take any
other action in order to vest in Company all rights hereunder and Contractor appoints
Company as Contractor's attorney in fact to do so, which power of attorney is irrevocable
and coupled with an interest.
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 97 of 119

7. Documentation. In the event of the termination of Contractor's
engagement for any reason, Contractor will deliver to the Company all documents, notes,
drawings, blueprints, formulae, specifications, computer programs, data and other
materials of any nature pertaining to any Intellectual Property or to Contractor's work
with the Company, and will not take any of the foregoing or any reproduction of any of
the foregoing that is embodied in a tangible medium of expression.

 

8. Confidentiality. At all times, both during Contractor's engagement by
the Company and after its termination, Contractor will keep in strict confidence and will
not disclose any confidential or proprietary information relating to the business of the
Company, or any client, customer, or business partner of the Company, to any person or
entity, or make use of any such confidential or proprietary information for Contractor's
own purposes or for the benefit of any person or entity, except as may be necessary in the
ordinary course of performing Contractor's duties for the Company.

9. Other Agreements. Contractor represents and warrants that Contractor's
execution and delivery of this Agreement and the performance of all the terms of this
Agreement do not and will not breach any agreement to keep in confidence proprietary
information acquired by Contractor in confidence or trust. Contractor has not entered
into and shall not enter into any agreement, either written or oral, in conflict with this
Agreement. Contractor represents that Contractor has not brought and will not bring with
Contractor to the Company or use at the Company any materials or documents of an
employer or a former employer that are not generally available to the public, unless
express written authorization from such employer for their possession and use has been
obtained. Contractor also understands that Contractor is not to breach any obligation of
confidentiality that Contractor has to any employer or former employer and agrees to
fulfill all such obligations during the period of Contractor's affiliation with the Company.

10. Remedies. Contractor acknowledges that a remedy at law for any
breach or threatened breach of the provisions of this Agreement would be inadequate and

' therefore agrees that the Company shall be entitled to injunctive relief in addition to any -

other available rights and remedies in case of any such breach or threatened breach;
provided, however, that nothing contained herein shall be construed as prohibiting the
Company from pursuing any other remedies available for any such breach or threatened
breach. Contractor further acknowledges that in the event of breach by Company of this
or any other agreement Contractor may have with Company, Contractor shall be limited
to an action-at-law for damages actually suffered, subject first to mediation by a mediator
chosen by both parties or if the parties cannot agree then through a court-appointed
mediator; in no event shall Contractor have the right to terminate or rescind any rights
granted to Company hereunder, to obtain equitable relief or otherwise to enjoin, restrain
or otherwise interfere with the full exploitation of the rights herein granted including,
without limitation, with respect to any or all Intellectual Property.

11. Assignment. This Agreement and the rights and obligations of the
parties hereto shall bind and inure to the benefit of any successor or successors of the
Company by reorganization, merger or consolidation or otherwise and any assignee of all
—_

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 98 of 119

or substantially all of its business and properties, but neither this Agreement nor any
rights or benefits hereunder may be assigned by Contractor.

12. Interpretation, Severability. It is the desire and intent of the parties

that the provisions of this Agreement shall be enforced to the fullest extent permissible
under the laws and public policies applied in each jurisdiction in which enforcement is
sought. Accordingly, if any particular provision of this Agreement shall be adjudicated
to be invalid or unenforceable, such provisions shall be deemed amended to delete there
from the portion thus adjudicated to be invalid or unenforceable, such deletion to apply
only with respect to the operation of such provision in the particular jurisdiction in which
such adjudication is made. In addition, if any one or more of the provisions contained in
this Agreement shall for any reason be held to be excessively broad as to duration,
geographical scope, activity or subject, it shall be construed by limiting and reducing it so
as to be enforceable to the extent compatible with the applicable law as it shall then
appear. Should any part(s) of this Agreement be rendered or declared invalid by a court
of competent jurisdiction of the State of New York, such invalidation of such part(s) or
portion(s) of this Agreement should not invalidate the remaining portions thereof, and
they shall remain in full force and effect.

13. Notices. Any notice which a party is required or may desire to give
pursuant to this Agreement shall be given by personal delivery or registered or certified
mail, return receipt requested, addressed to Contractor at Contractor's address of record
with the Company and addressed to the Company at its principal office, or at such other
place as either party may from time to time designate in writing. The date of personal
delivery or the date of mailing any such notice shall be deemed to be the date of delivery
thereof.

14. Waivers. If either party shall waive any breach of any provision of
this Agreement, such party shall not thereby be deemed to have waived any preceding or
succeeding breach of the same or any other provision of this Agreement.

 

15. Governing Law. This Agreement shall be governed by, and construed
and enforced in accordance with, the laws of the State of New York, without giving

effect to principles governing conflicts of laws.

16. No Employment Agreement. Contractor acknowledges that this
Agreement does not constitute an employment agreement and agrees that, except to the
extent herein specified to the contrary, this Agreement shall be binding upon Contractor
regardless of whether or not Contractor's engagement shall continue for any length of
time hereafter and whether or not Contractor's engagement is terminated for any reason
whatsoever by the Company or Contractor or both.

17. Complete Agreement; Amendments; Prior Agreements. The foregoing
is the entire agreement of the parties with respect to the subject matter hereof and may
not be amended, supplemented, canceled or discharged except by written instrument
executed by both parties.
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 99 of 119

Very truly yours,

ah

NDAP, LLC.

By:

Name: David Gitman
Title: Managing Member
For: NDAP, LLC

AGREED TO AND ACCEPTED

 

Konstantyn Bagaev.

 

Business Name: IP
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 100 of 119

EXHIBIT A - WORK ORDER

Contractor: Konstantyn Bagaev
Start Date Under Agreement: January 1", 2016
Term of Work Order: One Year, with ability to extend as the parties agree.

Time Commitment: Contractor shall dedicate at minimum
75% of Contractor's business time, energy and attention to
the business and affairs of the Company.

Rate of Payment: $2,000 per month, pro rata for any work due within 30 days of receipt
of invoice.

Scope of Services: Act on behalf of Client in the capacity of Work for Hire / Consultant
working on various projects included but not limited to

ChannelReply API Connection CarPartKings

By: IP Bagaev Konstantin
Konstantyn Bagaev
UI Mira d 59 k3 kv 138
Jeleznogorsk 30717
Russia

Registration Number: 315463300002436

Signed: Date:
Agreed and Accepted by Konstantyn Bagaev

By: NDAP, LLC. (Company)

Rep; David Gitma

By: Date:

~~
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 101 of 119
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 102 of 119

 

Exhibit 8
~~

md

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 103 of 119

P-5

NDAP, LLC
1010 Northern Blyd, Suite 208
Great Neck, NY 11021
USA 7

Dated as of January 1°", 2016

Dear Mr. Bagaev:

When-signed - by. each of the parties hereto, this letter sets forth the entire agreement
between NDAP, LLC., a New York Limited Liability Company (the "Company") and
Konstantyn Bagaev Registration Number: +8 Sresee2436 (the "Contractor"), with
respect to the engagement of Contractor as an independent contractor by the Company on”
the following terms and conditions:

      
 

~ 1. Acknowledgment. Contractor understands and acknowledges that:

(a) The Company is engaged in a continuous program of research,
design, development, production, publishing, marketing and servicing with respect to its
business and as part of Contractor's engagement by the Company, Contractor is (or may
be) expected to make new contributions and inventions of value to the Company.

(6) The Company's engagement of Contractor creates a
relationship of confidence and trust between Contractor and the Company with respect to
certain information applicable to the business of the Company or the business of any
client, customer, or business partner of the Company, which may be made known to
Contractor by the Company or by any client, customer, or business partner of the
Company, or learned by Contractor during the period of Contractor's engagement.

(c) The Company possesses and will continue to possess
information that has been created, discovered or developed by, or otherwise become
known to, the Company (including, without limitation, information created, discovered,
developed or made known by Contractor during the period of or arising out of
Contractor's engagement by the Company, whether before or after the date hereof) or in
which property rights have been or may be assigned or otherwise conveyed to the
Company, which information has commercial value in the business in which the
Company is engaged and is treated by the Company as confidential.

(d) As used herein, the period of Contractor's engagement includes
any time during which Contractor shall perform any services for or on behalf of the
Company, in any capacity, including as an employee.

2. Engagement. All work performed by Contractor shall be documented
in a Work Order signed by authorized representatives of both parties and affixed hereto
as Exhibit A. Each Work Order shall set forth, at a minimum, the work to be done, the
duration of the assignment, and the fees for the work to bé performed.
sal

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 104 of 119

3. Commitment _to_ Company. During the period of Contractor's
engagement by the Company, Contractor will devote that portion of Contractor's business
time, energy and attention to the business and affairs of the Company subject to the Work
Order included as Attachment A herein.

4. Term of Engagement. As per Work Order included as Attachment A.
Termination of this Agreement shall not affect the obligations of Contractor under
Sections-5(d), 6; 7 and 8 hereof. Notwithstanding the terms of the Work Order, Company
reserves the right to terminate its engagement of Contractor at any time for any reason,
including but not limited to, if Company finds Contractor’s work to be unsatisfactory or
if there is a breakdown in communication between Company and Contractor . In the
event that Company exercises its right to terminate Contractor at will, Company shail
only be responsible for compensating Contractor for the fair market value of work
already performed and shall have no obligation to compensate Contractor for future
works not yet performed, whether such works are anticipated by a signed Work Order or
not. Notwithstanding the foregoing, Contractor shall have no right to terminate
premature of completing a signed Work Order. Any such refusal to complete work ona
signed Work Order will be deemed a breach of this agreement and result in harm to the
Company, entitling the Company to seek damages and injunctive or other equitable relief
as described in Section 10, Remedies, below.

5. Declaration.

(a) Contractor acknowledges and agrees that Contractor is acting
as an independent contractor in the performance of the services hereunder, and nothing
herein contained shall be deemed to create an agency and/or an employer/employee
relationship between Contractor and the Company. As an independent contractor,
Contractor shall determine the times and locations at which his services are performed,
subject to the timetable for the completion of specified tasks as the Company and
Contractor shall agree. Contractor shall bear all costs associated with the performance of
his services (with the exception of travel costs associated with work with NDAP, LLC, so
long as such travel costs are pre-approved by an authorized representative of NDAP,

LLC).

(b) Contractor shall in no event be entitled to participate in, or
receive any benefits from, any of the Company's benefit or welfare plans, specifically
including, but not limited to, coverage under the Company's workers’ compensation
program. The Company shall have no obligation whatsoever to compensate Contractor
on account of any damages or injuries which Contractor may sustain as a result or in the
course of performance of Contractor's services hereunder.

(c) Contractor shall be solely responsible for the payment of all
Federal and State income taxes, social security taxes, Federal and State unemployment
and similar taxes and all other assessments, taxes, contributions or sums payable, with the
exception of applicable sales tax, with respect to Contractor as a result of or in connection
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 105 of 119

with the services performed by Contractor hereunder and Contractor shall file all returns
and reports with respect to any of the foregoing.

(d) Contractor shall defend, indemnify and hold harmless the
Company and its affiliates and their officers, directors, employees, agents, successors and
permitted assigns from and against all losses, damages, liabilities, deficiencies, actions,
Judgments, interest, awards, penalties, fines, costs or expenses of whatever kind
(including reasonable attorneys’ fees) arising out of or resulting from (a) bodily injury,
death of any person or damage to real or tangible, personal property resulting from
Contractor’s acts or omissions; and (b) Contractor’s breach of any representation,
warranty or obligation under this Agreement. The Company may satisfy such indemnity
(in whole or in part) by way of deduction from any payment due to Contractor. The
provisions of this paragraph shall survive the expiration or earlier termination of this

agreement

6. Works Made for Hire. Contractor acknowledges that all right, title and
interest in all works of authorship, designs, computer programs, copyrights and copyright
applications, inventions, discoveries, developments, original content production or
programming, know-how, systems, processes, formulae, patent and patent applications,
trade secrets, new products, internal reports and memoranda, strategies, and marketing
plans conceived, devised, developed, written, reduced to practice, or otherwise created or
obtained by Contractor in connection with Contractor's engagement by the Company (the
"Intellectual Property") shall be regarded as "works made for hire" with Company as the
sole author and owner thereof including, without limitation, as works specially ordered or
commissioned for use as part of an audiovisual work. Company will own all right, title
and interest in the Intellectual Property with the full and unrestricted right to exploit same
in any manner or media now known or hereafter devised and without any additional
compensation to Contractor. To the extent that any such Intellectual Property is for any
reason not deemed to be works made for hire, Contractor hereby transfers and assigns to
the Company all right, title and interest in and to the Intellectual Property from the

‘ inception of creation thereof. Promptly after Contractor creates or obtains knowledge of -
any Intellectual Property, Contractor will disclose it to the Company. Upon request of
the Company, Contractor will execute and deliver all documents or instruments and take
all other action as the Company may deem reasonably necessary to transfer all right, title,
and interest in any Intellectual Property to the Company; to vest in the Company good,
valid and marketable title to such Intellectual Property; to perfect, by registration or
otherwise, trademark, copyright and patent protection of the Company with respect to
such Intellectual--Property; and otherwise to protect the Company's trade secrets and
proprietary interest in such Intellectual Property. In the event Contractor does not sign
any such document or instrument within five (5) days of a request thereof, Company shall
have the right to execute such document or instrument in Contractor's name and take any
other action in order to vest in Company all rights hereunder and Contractor appoints
Company as Contractor's attorney in fact to do so, which power of attorney is irrevocable

and coupled with an interest.

 
Nat

—

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 106 of 119

7. Documentation. In the event of the termination of Contractor's
engagement for any reason, Contractor will deliver to the Company all documents, notes,
drawings, blueprints, formulae, specifications, computer programs, data and other
materials of any nature pertaining to any Intellectual Property or to Contractor's work
with the Company, and will not take any of the foregoing or any reproduction of any of
the foregoing that is embodied in a tangible medium of expression.

8. Confidentiality. At all times, both during Contractor's engagement by
the Company and after its termination, Contractor will keep in strict confidence and will
not disclose any confidential or proprietary information relating to the business of the
Company, or any client, customer, or business partner of the Company, to any person or
entity, or make use of any such confidential or proprietary information for Contractor's
own purposes or for the benefit of any person or entity, except as may be necessary in the
ordinary course of performing Contractor's duties for the Company.

9. Other Agreements. Contractor represents and warrants that Contractor's
execution and delivery of this Agreement and the performance of all the terms of this
Agreement do not and will not breach any agreement to keep in confidence proprietary
information acquired by Contractor in confidence or trust. Contractor has not entered
into and shall not enter into any agreement, either written or oral, in conflict with this
Agreement. Contractor represents that Contractor has not brought and will not bring with
Contractor to the Company or use at the Company any materials or documents of an
employer or a former employer that are not generally available to the public, unless
express written authorization from such employer for their possession and use has been
obtained. Contractor also understands that Contractor is not to breach any obligation of
confidentiality that Contractor has to any employer or former employer and agrees to
fulfill all such obligations during the period of Contractor's affiliation with the Company.

10. Remedies. Contractor acknowledges that a remedy at law for any
breach or threatened breach of the provisions of this Agreement would be inadequate and

' therefore agrees that the Company shall be entitled to injunctive relief in addition to any -

other available rights and remedies in case of any such breach or threatened breach;
provided, however, that nothing contained herein shall be construed as prohibiting the
Company from pursuing any other remedies available for any such breach or threatened
breach. Contractor further acknowledges that in the event of breach by Company of this
or any other agreement Contractor may have with Company, Contractor shall be limited
to an action-at-law for damages actually suffered, subject first to mediation by a mediator
chosen by both parties or if the parties cannot agree then through a court-appointed
mediator; in no event shall Contractor have the right to terminate or rescind any rights
granted to Company hereunder, to obtain equitable relief or otherwise to enjoin, restrain
or otherwise interfere with the full exploitation of the rights herein granted including,
without limitation, with respect to any or all Intellectual Property.

11. Assignment. This Agreement and the rights and obligations of the
parties hereto shall bind and inure to the benefit of any successor or successors of the
Company by reorganization, merger or consolidation or otherwise and any assignee of all
~

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 107 of 119

or substantially all of its business and properties, but neither this Agreement nor any
rights or benefits hereunder may be assigned by Contractor.

12. Interpretation, Severability. It is the desire and intent of the parties

that the provisions of this Agreement shall be enforced to the fullest extent permissible
under the laws and public policies applied in each jurisdiction in which enforcement is
sought. Accordingly, if any particular provision of this Agreement shall be adjudicated
to be invalid or unenforceable, such provisions shall be deemed amended to delete there
from the portion thus adjudicated to be invalid or unenforceable, such deletion to apply
only with respect to the operation of such provision in the particular jurisdiction in which
such adjudication is made. In addition, if any one or more of the provisions contained in
this Agreement shall for any reason be held to be excessively broad as to duration,
geographical scope, activity or subject, it shall be construed by limiting and reducing it so
as to be enforceable to the extent compatible with the applicable law as it shall then
appear. Should any part(s) of this Agreement be rendered or declared invalid by a court
of competent jurisdiction of the State of New York, such invalidation of such part(s) or
portion(s) of this Agreement should not invalidate the remaining portions thereof, and
they shall remain in full force and effect.

13. Notices. Any notice which a party is required or may desire to give
pursuant to this Agreement shall be given by personal delivery or registered or certified
mail, return receipt requested, addressed to Contractor at Contractor's address of record
with the Company and addressed to the Company at its principal office, or at such other
place as either party may from time to time designate in writing. The date of personal
delivery or the date of mailing any such notice shall be deemed to be the date of delivery

thereof.

14. Waivers. If either party shall waive any breach of any provision of
this Agreement, such party shall not thereby be deemed to have waived any preceding or
succeeding breach of the same or any other provision of this Agreement.

15. Governing Law. This Agreement shall be governed by, and construed
and enforced in accordance with, the laws of the State of New York, without giving

effect to principles governing conflicts of laws.

16. No Employment Agreement. Contractor acknowledges that this
Agreement does not constitute an employment agreement and agrees that, except to the
extent herein specified to the contrary, this Agreement shall be binding upon Contractor
regardless of whether or not Contractor's engagement shall continue for any length of
time hereafter and whether or not Contractor's engagement is terminated for any reason
whatsoever by the Company or Contractor or both.

17. Complete Agreement; Amendments: Prior Agreements. The foregoing
is the entire agreement of the parties with respect to the subject matter hereof and may
not be amended, supplemented, canceled or discharged except by written instrument
executed by both parties.
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 108 of 119

Very truly yours,
NDAP, LLC.

By:

Name: David Gitman

° Title: Managing Member
For: NDAP, LLC

AGREED TO AND ACCEPTED

4
a

Konstantyn Bagaev.

 
 
 
 

Address:

 

Registration Number: 68%

==. Business Name: IP DRS
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 109 of 119

EXHIBIT A - WORK ORDER

 

Contractor: Konstantyn Bagaev
Start Date Under Agreement: January 1*, 2016

, Term of Work Order: One Year, with ability to extend as the parties agree.

Time Commitment: Contractor shall dedicate at minimum °
75% of Contractor's business time, energy and attention to
the business and affairs of the Company.

Rate of Payment: $2,000 per month, pro rata for any work due within 30 days of receipt
of invoice. .

Scope of Services: Act on behalf of Client in the capacity of Work for Hire / Consultant
working on various projects included but not limited to

ChannelReply API Connection CarPartK ings

By: IP Bagaev Konstantin
Konstantyn Bagaev
} UI Mira d 59 k3 kv 138
Jeleznogorsk 30717
Russia

Registration Number: 315463300002436

Signed: Date:

Agreed and Accepted by Konstantyn Bagaev

By: NDAP, LLC. (Company)

Rep; David Gitma
By: . Date:

ro try
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 110 of 119

 

- Exhibit 9 -

Y
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 111 of 119

PT

COOPER SQUARE VENTURES, LLC

 

ChannelReply Beta Test Agreement -

This Beta Test Agreement (“Agreement t”) governs the disclosure of information by Cooper Square

Ventures, LLC. (“Company”) to, (the “Recipient”) and Recipient’s use of
Company’s beta service offering for ChannelReply (“Service”).

1.

wn

Subject to the terms and conditions of this Agreement, Company grants Recipient a
nonexclusive, nontransferable license to use the Company Service for a period
designated by the Company for the purpose of testing and evaluating the Service.

Beta Functionality Performance - This offering is new. As a beta subscriber you may
experience some issues with performance or functionality. ChannelReply will make its
best efforts to resolve these issues in a timely manner. However, there is no guarantee
that all issues will be resolved, nor does the typical performance SLA for the
ChannelReply platform apply to this finctionality. Please note, there will be no
financial credits (or other compensation) issued should this beta not meet your
expectations in terms of performance. functionality or otherwise.

Feedback - You agree to provide regular, timely and confidential feedback on the
performance of the beta feature to ChannelReply, at Company's request, so that
ChannelReply can make further improvements to the software.

Confidentiality - You agree to keep any information regarding the Beta functionality and
your participation in the beta confidential (please see confidentiality clause in terns
and conditions).

Support - Support for this feature will be available through ChannelReply's typical]
support channels (support@ChannelReply.com) while the offering is in. beta.

Post-beta Publicity - If you wish to continue using the functionality upon completion of
the beta period, you agree to participate in a case study and/or survey and provide a
quote for a press release.

Fee/Billing — A non-refundable initial install fee shall be billed to you prior to
installation in the amount of $1,500. Pricing for a custori solution for all eBay and
Aniazon accounts listed below shall be billed at $350 a month for the first (3) three
months at which point the accounts will be reviewed and prices adjusted in accordance
with the usage. If payment is not received by the 7" day of the month. service shall be
suspended. These prices are subject to change at the Company’s sole discretion at any
time. Recipient shall be granted at least two weeks advanced notice.

Participation - You agree that you are able and willing to dedicate the time necessary to
cooperate with us so that we may maximize the beta functionality. This may at times

 

1070 Northem Bivd, Ste 208 « Great Neck, 11021 « (646) 553-5920 + info@coopersquare.ventures
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 112 of 119

COOPER SQUARE VENTURES, LLC

 

 

require Recipient to grant Company complete access to one or more of Recipient's
accounts, including but not limited to eBay, Amazon, ZenDesk and any other account
used in conjunction with ChannelReply for the purpose of Company performing
configuration, maintenance 4nd troubleshooting.

9. Time Frame: The Company's Service shall be provided on a month-to-month basis.
Should the subscriber seek to cancel or suspend service for any reason, a notice must
be sent to Support@ChannelReply.com 30 days in advance or Recipient will be billed
for the following month. The Company reserves the right to cancel or suspend.
Recipient's use and access to Service at any time for any reason with or without cause.

ADDITIONAL TERMS AND CONDITIONS
(INCORPORATED HEREIN AS PART & PARCEL OF THIS AGREEMENT)

10. The Recipient agrees that it at all times will hold in strict confidence and not disclose
Confidential Information (as defined below) to any third party except as approved in
writing by the Company and will use the Confidential Information for no purpose other
than evaluating the Service. The Recipient shall only permit access to Confidential
Information to those of its employees having a need to know and who have signed
confidentiality agreements or are otherwise bound by confidentiality obligations at

‘ least as restrictive as those contained herein. “Confidential Information” means all
non-public materials and information provided or made available by Company to

Recipient, including products and services, information regarding technology, know-

how, processes, software programs, research, development, financial information and

information regarding third parties.

 

I. After Recipient's evaluation of the Service is complete, or upon request of the Company,
the Recipient shall promptly return to the Company all documents, notes and other
tangible materials and return or certify the destruction of all electronic documents,
notes, software, data, and other materials in electronic form representing the
Confidential Information and all copies thereof.

12, The Recipient agrees that nothing contained in this Agreement shall be construed as
granting any ownership rights to any Confidential Information disclosed pursuant to
this Agreement, or to any invention or any patent, copyright, trademark, or other
intellectual property right. The Recipient shall not make, have made, use or sell for
any purpose any product or other item using, incorporating or derived from any
Confidential Information or the Service. The Recipient will not modify, reverse
engineer, decompile, create other works from, or disassemble any software programs
contained in the Confidential Information or the Service.

13. This Service is a beta release offering and is not at the level of performance of a
commercially available product offering. The Service may not operate correctly and

 

1010 Northem Bivd, Ste 208 * Great Neck, 11021 * (646) 553-5920 » info@coopersquare.ventures
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 113 of 119

COOPER a VENTURES, LLC

 

may be substantially modifi ed prior to first commercial release, or at Company’s
option may not be released commercially in the future. THE SERVICE AND
DOCUMENTATION ARE PROVIDED “AS IS” WITHOUT WARRANTY OF ANY

: KIND, AND COMPA | AND ITS LICENSORS DISCLAIM ALL WARRANTIES,

; EXPRESS, IMPLIED, OR STATUTORY, INCLUDING WITHOUT LIMITATION

: ANY IMPLIED WARRANTIES OF TITLE, NON-INFRINGEMENT OF THIRD
PARTY RIGHTS, MERCHANTABILITY, OR FITNESS FOR A PARTICULAR
PURPOSE. NO ORAL OR WRITTEN ADVICE OR CONSULTATION GIVEN BY
COMPANY, ITS AGENTS OR EMPLOYEES WILL IN ANY WAY GIVE RISE TO
A WARRANTY. THE ENTIRE RISK ARISING OUT OF THE USE OR.
PERFORMANCE OF THE SERVICE REMAINS WITH RECIPIENT.

14, COMPANY AND ITS LICENSORS SHALL NOT BE LIABLE FOR LOSS OF USE,
LOST PROFIT, COST OF COVER, LOSS OF DATA, BUSINESS INTERRUPTION,
OR ANY INDIRECT, INCIDENTAL, CONSEQUENTIAL, PUNITIVE, SPECIAL,
OR EXEMPLARY DAMAGES ARISING OUT OF OR RELATED TO THE
SERVICE OR THIS AGR EEMENT, HOWEVER CAUSED AND REGARDLESS
OF THE FORM OF AC ON, WHETHER IN CONTRACT, TORT (INCLUDING
NEGLIGENCE) STRICT LIABILITY, OR OTHERWISE, EVEN IF SUCH PARTIES
HAVE BEEN ADVISED, OF THE POSSIBILITY OF SUCH DAMAGES. IN NO
EVENT WILL COMPANY’S AGGREGATE CUMULATIVE LIABILITY FOR
ANY CLAIMS ARISING OUT OF OR RELATED TO THIS AGREEMENT
EXCEED $50.00 OR THE AMOUNT RECIPIENT ACTUALLY PAID COMPANY:
UNDER THIS AGREEMENT (IF ANY).

15. The Recipient's obligations under this Agreement shall survive any termination of this
agreement. This Agreement shall be governed by and construed in accordance with the
laws of New York. The Recipient hereby agrees that breach of this Agreement will
cause Company irreparable damage for which recovery of damages would be
inadequate, and that the Company shall therefore be entitled to obtain, timely injunctive
relief under this Agreement, as well as such further relief as may be granted by a court
of competent jurisdiction! The Recipient will not assign or transfer any rights or
obligations under this Agreement without the prior written consent of the Company.

!

 

1010 Northern Blvd, Ste 208 » Great Neck, 11021 « (646) 553-5920 * info@coopersquare.ventures
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 114 of 119

COOPER SQUARE VENTURES, LLC

 

Services Requested:
eBay Accounts:

UK:

micksgarage uk
thecaraccessoryoutlet
discountcarparts4u4iess
micksgarageofficialhondastore
theautobrakingoutlet
theukcarpartsoutlet
thecarserviceoutlet

FR:
micksgarage FR

OZ:

micksgarape australia
DE:
micksgarage_derfilterstore

Amazon Account:
Micksgarage Parts & Accessories

 

Agreed to and Accepted on and by:

oN eenpoen et “a
in Date: Wlorlis_ lol lS
Non: rie: Catawen. Mex

 

 

 

 

1010 Northern Bivd, Ste-208 « Great Neck, 11021» (646) 553-5920 « info@coopersquare.ventures
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 115 of 119
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 116 of 119

   

Exhibit10 & ~
“oss Aq days

 

_ _ SiuON,
psc ey ADTMR HOES

 

 

sNogus ©

Suey) 8 Hog

 

Jea), BIAS

    

WALCO a) bt eo y

URIS» LON ee) 1

 

SHAT) POSUINT SARI -
SUNIL Saya -

; Cerddius SaE3 -

SE qt aries Spall 2-05 bpd SFG SAN soy APN our apg AaAg

  

RT Aca,

    

      

(hy weg Supsdeig 1g Bay; ag

 

 

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 117 of 119
Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 118 of 119

EXHIBIT B
S,

N.

DIVISION OF CORPORATIONS

Case 1:17-cv-04327-LLS-RWL Document 180-30 Filed 08/14/20 Page 119 of 119

¥. &. DEPBRTMENT OF STATE

DOCUMENT TYSE : ASSUMED

MICHAEL DARDASHTIAN
1010 NORTHERN BLVD.
SUITE 208

GREAT NECK NY

PRINCIPAL LOCATTON

1010 NORTHERN BLVS
SUITE 298

GREAT NECK

NY 11021

COMMENT :

ASSUMED NAME

SERVICE COMPANY

FEES 25.30

FILING : 25.40
COUNTY : 26
COSTES : .oC
Misc : Oo
HANDLE : -9C

ALBANY, NY 12231-0901

FILING RECEIPT
Sree n nse eames seers sere sass sess See crs esse eae Qannrar nn on sess aeme sss esses esse

ENTITY NAME : NDAP, LLC

NAME LTD LIABTLITY CoO

11¢21

FILED: 97/16/2614
CASH#4: 225622
PILM}: 20149716077

+++ NO SERVICE COMPANY fF «4 CODE:

CASH
CEKEECK t
C CARD: 25.00

REFUND

a a Se a MMU RT RES RRR RRS SSS see eel ee ewe eee
DOIHD1TOR DOS-287 (Oe/ 2007)
